                    Case 19-35238            Doc 1       Filed 12/13/19 Entered 12/13/19 19:04:56                              Desc Main
                                                          Document     Page 1 of 190

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Arro Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7440 Santa Fe Drive
                                  Hodgkins, IL 60525
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.arro.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 19-35238               Doc 1       Filed 12/13/19 Entered 12/13/19 19:04:56                                 Desc Main
                                                             Document     Page 2 of 190
Debtor    Arro Corporation                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                3119

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                        No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                  Relationship
                                                 District                                 When                           Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                    Case 19-35238          Doc 1          Filed 12/13/19 Entered 12/13/19 19:04:56                               Desc Main
                                                           Document     Page 3 of 190
Debtor   Arro Corporation                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
Case 19-35238   Doc 1   Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
                         Document     Page 4 of 190
Case 19-35238   Doc 1   Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
                         Document     Page 5 of 190
                      Case 19-35238                    Doc 1         Filed 12/13/19 Entered 12/13/19 19:04:56                                      Desc Main
                                                                      Document     Page 6 of 190

 Fill in this information to identify the case:
 Debtor name Arro Corporation
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                            Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Aerotek, Inc                                                    Trade Debt                                                                                             $134,620.59
 3689 Collections Ctr            pslavin@aerotek.co
 Dr.                             m
 Chicago, IL 60693               866-466-0420
 Alternative Staffing                                            Outsourced Labor                                                                                     $1,617,900.68
 Inc.
 5620 West Cermak                708-652-3636
 Rd.
 Cicero, IL 60804
 American Express                                                Credit Cards                                                                                           $660,191.50
 Box 0001
 Los Angeles, CA                 800-492-3344
 90096-8000
 Backhaul Direct                                                 Trade Debt                                                                                             $495,490.00
 1 Virginia Ave
 Suite 400                       800-518-1664
 Indianapolis, IL 46204
 Batory Foods                                                    Trade Debt                                                                                             $545,010.95
 1700 Higgins Road               ybaez@batoryfoods.
 Suite 300                       com
 Des Plaines, IL                 847-299-7743
 60018-3800
 Bluegrass Dairy and                                                                                                                                                    $127,235.00
 Food, Inc.                      phowlett@bluegrass
 606 W. Main St.                 dairy.com;
 Springfield, KY 40069           charley@bluegrassd
                                 airy.com
                                 859-336-7643
 BREIT Industrial                                                Landlord Claim                                                                                         $942,045.39
 Canyon IL1B03 LLC
 P.O. BOX 209239                 708-667-8802
 Austin, TX
 78720-9239




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 19-35238                    Doc 1         Filed 12/13/19 Entered 12/13/19 19:04:56                                      Desc Main
                                                                      Document     Page 7 of 190


 Debtor    Arro Corporation                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cacique de Cafe                                                Trade Debt                                                                                              $331,497.56
 Soluvel                         pereira@caciqueny.
 Rua Horacio Sabino              com
 Coimbra 100
 86072-900
 Londrina, Parana
 Brazil
 Dykema Gossett                                                 Legal Fees                                                                                              $171,062.97
 PLLC
 10 S. Wacker Drive              312-876-1700
 Suite 2300
 Chicago, IL 60606
 Gierczyk, Inc.                                                 Construction            Disputed                                                                      $1,113,798.64
 16200 Clinton Street
 Harvey, IL 60426                708-596-9696
 Graphic Packaging                                              Trade Debt              Disputed                                                                        $197,948.19
 International                   stjohnm@graphicpk
 PO Box 404170                   g.com;
 Atlanta, GA                     christine.mucci@gra
 30384-4170                      phicpkg.com
                                 800-376-2703
 Karlin Foods Corp.                                             Trade Debt              Disputed                                                                        $590,446.85
 1845 Oak Street
 Suite 19                        847-441-8330
 Northfield, IL 60093
 Kraft Heinz Company                                            Trade Debt                                                                                            $2,029,681.67
 200 East Randolph
 Street                          773-841-3888
 Suite 7600
 Chicago, IL 60601
 Live Electric, LLC                                             Trade Debt                                                                                              $198,358.83
 68 Spring Ave
 Glen Ellyn, IL 60137            630/474-0125
 Mercer Foods, LLC                                              Trade Debt                                                                                              $154,760.00
 1836 Lapham Drive               csr@mercerfoods.co
 Modesto, CA 95354               m
                                 209-529-0150
 Onin Group Midwest,                                            Outsourced Labor                                                                                      $1,013,693.73
 LLC
 1 Perimeter Park S              773-486-2400
 Suite 450N
 Birmingham, AL
 35243
 Santa Fe Industrial                                            Landlord Claim                                                                                          $609,444.30
 Investors
 One Oakbrook
 Terrace STE400
 Oakbrook Terrace, IL
 60181
 Sensory Effects                                                Trade Debt                                                                                              $164,586.73
 Powder Systems                  kgoetschius@balche
 136 Fox Run Drive               m.com
 Defiance, OH 43512              419-783-4345

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      Case 19-35238                    Doc 1         Filed 12/13/19 Entered 12/13/19 19:04:56                                      Desc Main
                                                                      Document     Page 8 of 190


 Debtor    Arro Corporation                                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 St. Charles Trading                                             Trade Debt             Disputed                                                                        $450,000.00
 650 North Raddant               malloryp@stcharlest
 Road                            rading.com
 Batavia, IL 60510               630-377-0608
 The Royal Group                                                 Trade Debt                                                                                             $444,976.34
 2318 Paysphere                  arro@royalbox.com
 Circle                          708-656-2020
 Chicago, IL 60674




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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Case 19-35238   Doc 1   Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
                         Document     Page 9 of 190
    Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
      Arro Corporation -Document      Page 10 of 190


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      1000Bulbs
      2140 Merritt Drive
      Garland, TX 75041


      3M Company
      2807 Paysphere Circle
      Chicago, IL 60674


      48forty Solutions, LLC
      P.O. Box 849729
      Dallas, TX 75284-9729


      48Forty Solutions, LLC
      13100 Northwest Freeway, Ste. 450
      Houstin, TX 77040


      48Forty Solutions, LLC
      c/o Ann E. Knight
      J. Diamond and Associates, PLLC
      730 North Loop
      Houston, TX 77009


      6 J's Trucking



      A+ Fire Protection Service Inc.
      554 Anderson Drive
      Romeoville, IL 60446


      A-1 Air Compressor Corporation
      679 Winthrop Avenue
      Addison, IL 60601


      A. Holiday & Company
      4141 Younge Street
      Suite 203
      CANADA
      Toronto, ON M2P2A8


      Aarhuskarlshamn USA Inc.
      131 Marsh Street
      Port Newark, NJ 07114
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 11 of 190



  Aaron Equipment Company
  P.O. Box 80
  735 E. Green St.
  Bensenville, IL 60106


  AB Mauri Fleischmann's Yeast
  1350 Timberlake Manor Parkway
  Suite 550
  Chesterfield, MO 63017


  Abacus Scales &System
  1640 W. Pershing
  Chicago, IL 60609


  Abbott Blackstone Co
  411 Cleveland St. #198
  Clearwater, FL 33755


  Abel Espinoza



  AbeTech
  12560 Fletcher Lane
  Rogers, MN 55374


  ABF Freight System, Inc
  1900 E. Lincoln Hwy
  Lynwood, IL 60411-7704


  Access One, Inc
  P.O. Box 74008744
  Chicago, IL 60674-8744


  Accounting Principals
  Dept CH 14031
  Palatine, IL 60055


  Accu-ray Inspection Services
  211 Spangler
  Elmhurst, IL 60126


  Accutek Packaging Equipment Company
  2685 S Melrose Dr
  Vista, CA 92081
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 12 of 190



  ACE Metal Crafts Company
  484 Thomas Drive
  Bensenville, IL 60106


  Ace World Wide Air Freight Co.
  6001 Ace Industrial Drive
  Cudahy, WI 53110


  Acme Metrology
  1100 North Villa Ave
  Villa Park, IL 60181


  Acrison, Inc
  20 Empire Blvd
  Moonachie, NJ 07074


  Action Supplier Corp
  2100N 15th Ave
  Melrose Park, IL 60160


  Active Roofing
  7711 W. 98th Street
  Hickory Hills, IL 60457


  Acuity
  2800 S. Taylor Drive
  P.O. Box 718
  Sheboygan, WI 53081


  Adams Vegetable Oils
  P.O. Box 956
  Arbuckle, CA 95912


  ADCO Manufacturing
  2170 Academy Ave
  Sanger, CA 93657


  Addison Electric
  502 Factory Road
  Addison, IL 60101


  Adelman & Gettleman LTD
  53 W. Jackson Boulevard
  Suite 1050
  Chicago, IL 60604
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 13 of 190



  ADM
  1300 W Carroll
  Chicago, IL 60607


  ADM Foodservice
  P.O. Box 92572
  Chicago, IL 60675-2572


  ADM Milling Co.
  5020 Shrere Ave
  St. Louis, MO 63115


  ADM Sorghum Flour
  P.O. Box 92572
  Chicago, IL 60675-2572


  Admiral Packaging
  10 Admiral Street
  Providence, RI 02908


  ADP, Inc.
  P.O. Box 0500
  Carol Stream, IL 60132-0500


  Adriana Perez



  Advanced Packaging Tech Labs
  200 Larkin Drive
  Unit H
  Wheeling, IL 60090


  Advantage Control Systems
  27 Airport Drive
  Rockford, IL 61109


  Advantage Group
  CT Lien Solutions
  P.O. Box 29071
  Glendale, CA 91209


  Advantage Industrial Sytems, LLC
  9320 Corsair Road
  Frankfort, IL 60423
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 14 of 190



  Advantage Label & Packaging Inc.
  3919 N Greenbrooke SE
  Kentwood, MI 49511


  Advantage Structures LLC
  10554 S. Muskegon Ave
  Chicago, IL 60617


  AEK Packaging Equipment LLC
  735 E. Green St.
  Bensenville, IL 60106


  Aerotek ,Inc
  3689 Collections Ctr Dr.
  Chicago, IL 60693


  AFCO
  4501 College Blvd
  Ste 320
  Leawood, KS 66211-2328


  Aflac
  Worldwide Headquarters
  Columbus, GA 31993-8601


  Ag Trucking, Inc.
  P.O. Box No 453
  Goshen, IN 46527-0453


  Agridient
  28580 Orchard Lake Road
  Suite 205
  Farmington Hills, MI 48334


  Agropur Ingredients
  P.O. Box 1628
  La Crosse, WI 54602


  AIB International
  1213 Bakers Way
  P.O. BOX 3999
  Manhattan, KS 66505-3999
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 15 of 190



  Air Comfort
  2550 Braga Dr
  Broadview, IL 60155


  Aires Consulting
  1550 Hubbard Avenue
  Batavia, IL 60510


  Airgas South
  6601 E. 14th Avenue
  Tampa, FL 33619-2913


  Airgas USA, LLC
  P.O. Box 802576
  Chicago, IL 60680-2576


  Airlite Plastics Co
  6110 Abbott Dr
  Omaha, NE 68110


  Aiya America, Inc.
  386 Beech Ave
  Unit B3
  Torrance, CA 90501


  Aiya Co. Ltd.
  15 Yokomachiyashiki Kamimachi
  Nishio City
  Aichi 00445-0894


  AJ Adhesives,Inc.
  4800 Miami Street
  St. Louis, MO 63116


  Ajinomoto Food Ingredients, LLC
  8430 W. Bryn Mawr Avenue
  Suite 635
  Chicago, IL 60631


  Ajinomoto Health & Nutrition
  1300 N Arlington Heights Road
  #110
  Itasca, IL 60143
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 16 of 190



  Al Nowak



  Ala Alia
  7421 Claridge Lane Unit 1
  Bridgeview, IL 60455


  Albany Packaging
  25 Tangiers Road Toronto
  CANADA
  Ontario M3J 2B1


  Alchemy
  5301 Riata Park Court
  Building F - Suite 100
  Austin, TX 78727


  Aldi, Inc.
  1200 N Kirk Road
  Batavia, IL 60510


  Aldinger Company
  1440 Prudential Drive
  Dallas, TX 75235


  Alia, Ala
  7421 Claridge Drive
  Unit 1
  Bridgeview, IL 60455


  All American Dairy Products
  100 Deerfield Lane
  Suite 250
  Malvern, PA 19355


  All Market Singapore Pte Ltd
  61 Science Park Road #02-04
  The Galen 00011-7525


  All-American Roofing LLC
  1313 E. Waterford Ave
  St. Francis, WI 53235
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 17 of 190



  All-Fill Inc.
  418 Creamery Way
  Exton, PA 19341


  Alliance Funding Group
  3745 W. Chapman Ave
  2nd Floor
  Orange, CA 92868


  Allied Electronics Inc.
  P.O Box 2325
  Fort Worth, TX 76113-2325


  Allied Painting Contractors, LLC
  11N263 Brookside Dr,
  Unit G
  Elgin, IL 60123


  Alltech Supply, Inc.
  10216 Werch Drive
  Suite 113
  Woodridge, IL 60517


  Almeyda, Maria A.
  14501 S. Harrison Avenue
  Posen, IL 60469


  Alnor Oil Company
  70 East Sunrise Highway
  Suite 418
  Valley Stream, NY 11581


  Alnor Oil Company, Inc.
  70 East Sunrise Highway
  Valley Stream, NY 11581-1221


  Alpha Plastics
  1555 Page Industrial Blvd
  St. Louis, MO 63132


  Alta Industrial Equipment Company
  13211 Merriman Rd
  Livonia, MI 48150-1826
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 18 of 190



  Alternative Staffing Inc.
  5620 West Cermak Rd.
  Cicero, IL 60804


  Alvarez Jr., Roberto
  4857 S. Throop Street
  Chicago, IL 60609


  Alvarez, Edgar D.
  1931 North Keeler
  Chicago, IL 60639


  Amcor Flexibles LLC
  2150 E Lake Cook Rd
  Buffalo Grove, IL 60089


  American Agco
  7900 97th Street South
  Cottage Grove, MN 55016-4343


  American Air & Water
  12 Gibson Drive
  Hilton Head Island, SC 29926


  American Express
  Box 0001
  Los Angeles, CA 90096-8000


  American Igloo Builders, Inc.
  504 North Avenue
  Libertyville, IL 60048


  American Industrial Werks, Inc.
  904 S. Roselle Rd. #208
  Schaumburg, IL 60193


  American International Foods
  2910 Lucerne Drive SE
  Grand Rapids, MI 49546


  American Key Food Products
  1 Reuten Dr.
  Clostner, NJ 07624
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 19 of 190



  American Lecithin Company
  115 Hurley Road Unit 2B
  Oxford, CT 06478


  American Lecithin Company
  115 Hurley Road
  Unit 2B
  Oxford, CT 06478


  American Marking, Inc.
  2435 Vale Drive
  Birmingham, AL 35244


  American Mini Storage
  P.O. Box 463
  Crestwood, KY 40014


  American Packaging Corp
  777 Driving Park Ave
  Rochester, NY 14613


  American Vegetation Association
  P.O. Box 259
  East Hanover, NJ 07936


  American Yeast Sales
  75 Remittance Drive
  Suite 1047
  Chicago, IL 60675-1047


  AmeriGas - 7193
  3805 Clearview Court
  Gurnee, IL 60031


  AmeriGlobe, LLC
  1887 E. 71st Street
  South Bridge Office Park
  Tulsa, OK 74136


  Ameritemp, Ltd
  3314 N. Richmond Road
  Suite 100
  Johnsburg, IL 60051
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 20 of 190



  Amgraph Packaging Inc.
  90 Papermill Road
  Baltic, CT 06330


  Ammeraal Beltech, Inc.
  7501 N. St. Louis Avenue
  Skokie, IL 60076


  Ampac
  5305 Parkdale Dr
  Minneapolis, MN 55416


  Amstan Logistics
  Vora Technology Park
  101 Knightsbridge Drive
  Hamilton, OH 45011


  Ancaster Conveying Systems Ltd.
  611 Argyle St. N. Caledonia
  CANADA
  Ontario N3W 1M1


  Anderson Moran Construction, Inc.
  P.O. Box 5008
  Wheaton, IL 60189


  Anderson, Susan L.
  11348 S. Lothair
  Chicago, IL 60643


  Andrew Baumann
  9136 Beechnut Road
  Hickory Hills, IL 60457


  Andrews Advisory Group, LLC
  190 South LaSalle Street
  Suite 500
  Chicago, IL 60603


  Andy Kaminski
  141 N. Madison Avenue
  La Grange, IL 60525


  Ann Drada
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 21 of 190



  ANRITSU INFIVIS INC.
  1001 Cambridge Drive
  Elk Grove Village, IL 60007


  Anstar Products, Inc.
  5745 Howard Street
  Niles, IL 60714


  Antek Madison Plastics Recycling
  8822 S. Dobson Avenue
  Chicago, IL 60619-6952


  Antek Madison Plastics Recycling
  100 Finchdene Square
  CANADA
  Scarborough, ON M1X 1C1


  AOAC International
  2275 Research Blvd Ste 300
  Rockville, MD 20850-3250


  AOI Tea Company
  16651 Gothard St.
  Unit M
  Huntington Beach, CA 92647


  Apache Hose & Belting
  P.O. Box 1802
  Cedar Rapids, IA 52406-1802


  Apex Systems, LLC
  4400 Cox Road
  Suite 200
  Glen Allen, VA 23060


  AppleOne Employment Services
  PO Box 29048
  Glendale, CA 91209-9048


  Applied Industrial Technologies
  6625 daniel Burnham Dr.
  STE F
  Portage, IN 46368-1790
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 22 of 190



  Applied Material Solutions, Inc.
  1001 E. Centralia Street
  Elkhorn, WI 53121


  Applied Products
  2689 Momentum Place
  Chicago, IL 60689


  Aramark Uniform Services Inc.
  9005 W. 192nd Street
  Mokena, IL 60448


  Archer Daniels Midland
  4666 Faries Parkway
  Decatur, IL 62526-1820


  Archer Daniels Midland
  SFI Food Additives Operations
  4666 Faries Parkway
  Decatur, IL 62526


  Ardent Mills
  11 Conagra Drive
  Attn: Makayla Renner 11-170
  Omaha, NE 68102


  Ardent Mills, LLC
  15407 McGinty Road West
  Wayzata, MN 55391


  Arizona Instrument LLC
  3375 N. Delaware St.
  Chandler, AZ 85225


  ARPAC, LLC
  9555 W. Irving Park Road
  Schiller Park, IL 60176


  Arro Transport
  11861 South Cottage Grove
  Chicago, IL 60628
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 23 of 190



  Arrow Messenger Service
  400 west Erie
  205
  Chicago, IL 60654


  Arthur A. Mardyla



  Arvos Raymond Bartlett Snow LLC
  4525 Weaver Parkway
  Suite 250
  Warrenville, IL 60555


  aScentiim



  Ascentium Capital LLC
  23970 Hwy. 59 N.
  2nd Floor
  Kingwood, TX 77339


  Ascentium Capital LLC
  Corporation Service Company
  801 Adlai Stevenson Dr.
  Springfield, IL 62703


  ASH Equipment Company
  155 Oswalt Ave
  Batavia, IL 60510


  Ashbury Labelling Inc
  500 Montgomery st
  Suite 400
  Alexandria, VA 22314


  Ashland Inc.
  5200 Blazer Parkway
  Dublin, OH 43017


  Ashley Calumet 5 & 10 LLC
  9810 S. Dorchester
  Chicago, IL 60628
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 24 of 190



  Ashley Calumet LLC
  9810 South Dorchester Ave.
  Chicago, IL 60628


  Ashley Ellis
  P.O. Box 203451
  Dallas, TX 75320-3451


  ASI Food Safety Consultants
  P.O. Box 840041
  Kansas City, MO 64184-0041


  Asia Aroma USA, LLC
  P.O. Box 1802
  San Marino, CA 91118


  Associated Bag Company
  400 W. Boden St.
  Milwaukee, WI 53207


  Associated Integrated Supply Chain
  7954 Solution Center
  Chicago, IL 60677-7009


  Assurance Agency, Ltd
  1750 E Golf Road
  Schaumburg, IL 60173


  Assured Pest Control
  2506 Royal Lytham Drive
  St Charles, IL 60174


  Astro Studios
  348 6th Street
  San Francisco, CA 94103


  AT&T
  Bill Payment Center
  Chicago, IL 60663-0001


  AT&T U-Verse(Sm)
  P.O. Box 5014
  Carol Stream, IL 60197-5014
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 25 of 190



  Atlantic Cocoa Company
  13760 Noel Rd
  Suite 500
  Dallas, TX 75240


  Atlantic Coffee Solutions
  3900 Harrisburg Blvd
  Houston, TX 77003


  Atlantic Control Systems, Inc.
  4230 Lee Avenue
  Gurnee, IL 60031


  Atlas Construction
  956 S. Bartlett Rd.
  Bartlett, IL 60103


  Atlas Copco Compressors LLC
  DEPT CG 19511
  Palatine, IL 60055-9511


  Atlas First Access
  5050 N. River Road
  Schiller Park, IL 60176


  Atlas Mid America Energy
  5050 N. River Road
  Schiller Park, IL 60176


  Atlas Toyota Material Handling
  5050 N. River Road
  Schiller Park, IL 60176


  Atomatic Mechanical Services, Inc.
  3733 N. Ventura Drive.
  Arlington Heights, IL 60004


  Auger Fabrication Inc.
  418 Creamery Way
  Exton, PA 19341


  Auger Manufacturing Specialist
  22A Bacton Hill Road
  Frazer, PA 19355
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 26 of 190



  Autocrat, LLC
  10 Blackstone Valley Place
  Lincoln, RI 02865-1185


  AutomationDirect
  P.O. Box 402417
  Atlanta, GA 30384-2417


  Avebe Americas Inc
  101 Interchange Plaza
  Suite 101
  Cranbury, NJ 08512


  Avena Foods Limited
  110-10th Stree NE
  CANADA
  Portage la Prairie R1N 1B5


  Averitt
  PO Box 102197
  Atlanta, GA 30368-2197


  Avila, Marco Antonio
  2548 South Homan Avenue
  Apt. 215
  Chicago, IL 60623


  Awning, Sign & Lighting Group, Inc.
  1405 Bernard Dr.
  Unit A
  Addison, IL 60101


  AXA
  P.O. Box 732942
  Dallas, TX 75373-2942


  Axiom Foods
  12100 Wilshire Blvd
  #800
  Los Angeles, CA 90025


  Axon LLC
  3080 Business Park Dr.
  Suite 103
  Raleigh, NC 27610-3094
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 27 of 190



  Azo Incorporated
  P.O. Box 181070
  Memphis, TN 38181


  B.A.P. Enterprises, Inc
  P.O. Box 610
  Dolton, IL 60419


  Backhaul Direct
  1 Virginia Ave
  Suite 400
  Indianapolis, IL 46204


  Backhaul Direct, LLC
  c/o William G. Schur
  The Law Firm of William G. Schur
  123 N. Wacker Dr., Ste. 250
  Chicago, IL 60606


  Balanced Coil Technologies
  P.O. Box 1399
  Addison, TX 75001


  Balboa Capital Corporation
  575 Anton Blvd.
  12th Floor
  Costa Mesa, CA 92626


  Balboa Capital Corporation
  Lien Solutions
  P.O. Box 29071
  Glendale, CA 91209


  Balboa Capital Corporation
  P.O. Box 844803
  Los Angeles, CA 90084


  Balchem Corporation
  52 Sunrise Park Road
  New Hampton, NY 10958


  Ballas Egg Products Corp
  P.O. Box 2217
  40 N. Second St.
  Zanesville, OH 43701
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 28 of 190



  Baltazar Bertand
  1023 W. 171 St.
  Hazel Crest, IL 60429


  Bamberger Polymer, Inc.
  Two Jericho Plaza
  Suite 109
  Jericho, NY 11753


  Bamberger Polymers Inc.
  Two Jericho Plaza
  Jericho, NY 11753


  Banner Plumbing Supply
  7255 Cottage Grove
  Chicago, IL 60619


  Barentz USA
  517 Adams Ave.
  Albert lea, MN 56007


  Barnes Distribution
  Dept. Ch 14079
  Palatine, IL 60055-4079


  Barr Mechanical Sales, Inc
  13719 w. Laurel Drive
  Lake Forest, IL 60045


  Barrientos, Alfa
  1914 S. 59th Avenue
  Cicero, IL 60804


  Barry Callebaut USA LLC
  600 West Chicago Avenue
  Suite 860
  Chicago, IL 60654


  Basco USA
  2595 Palmer Ave
  University Park, IL 60484


  Bascom Family Farms
  56 Sugarhouse Rd.
  Alstead, NH 03602
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 29 of 190



  BASF Corporation
  333 Mt. Hope Avenue
  Dept. 903
  Rockaway, NJ 07866-0909


  BASIC Corporate
  9246 Portage Industrial Drive
  Portage, MI 49024


  Bateman, Penny L.
  387 Florida Avenue
  Aurora, IL 60506


  Bates Water Solutions
  120 W. Traube
  Downers Grove, IL 60515


  Batory Foods
  1700 Higgins Road Suite 300
  Des Plaines, IL 60018-3800


  Baumann, Andrew M.
  672 Lenox Street
  New Lenox, IL 60451


  Bay State Milling Company
  Attn: A/R Dept.
  100 Congress Street
  Quincy, MA 02169-0948


  Bay Valley Foods, LLC
  3200 Riverside Drive
  Suite A
  Green Bay, WI 54301


  Bay Valley Foods, LLC
  P.O. Box 19043
  Green Bay, WI 54307-9043


  BC Foods
  1330 North Dutton Avenue
  Suite 100
  Santa Rosa, CA 95401
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 30 of 190



  BCW Food Products, Inc.
  6000 Denton Drive
  P.O. Box 35947
  Dallas, TX 75235


  BDI (11)
  1414 Norwood Avenue
  Itasca, IL 60143


  Beaver Oil Co. Inc.
  6037 Lenzi Ave
  Hodgkins, IL 60525


  Beck Flavors, Inc.
  212 Millwell Dr.
  Maryland Heights, MO 63043


  Beckett Media LLC
  P.O. Box 975384
  Dallas, TX 75397-5384


  Bedon, Franklin A.
  2699 Showplace Drive
  Unit 301
  Naperville, IL 60564


  Bell Flavors and Fragrances, Inc.
  500 Academy Drive
  Northbrook, IL 60062


  Bell Fuels, Inc.
  1515 Creek Drive
  Morris, IL 60450-6857


  Bell Paving & Sealcoating
  10719 S Talman
  Chicago, IL 60655


  Bells Auto Sales, Inc.
  4805 Calumet Ave
  Hammond, IN 46327


  Belt Railway Co. Of Chicago
  6900 South Central Avenue
  Bedford Park, IL 60638
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 31 of 190



  Bemis Company, Inc.
  24815 Network Place
  Chicago, IL 60673


  Benefits Administrative System
  17475 Jovanna Drive
  Homewood, IL 60430


  Beneo
  6 Upper Pond Road #3A
  Parsippany, NJ 07054-1070


  Benitez, Alyson J.
  918 E. Hyde Park Blvd.
  Unit 1B
  Chicago, IL 60615


  Benjamin Larkin
  229 S. Maple Avenue
  Unit A
  Oak Park, IL 60302


  Bepex International LLC
  Nw 5511
  P.O. Box 1450
  Minneapolis, MN 55485-5511


  Bernotus, Daniel T.
  369 Rainier Road
  Valparaiso, IN 46385


  Berry Global
  P.O. Box 633485
  Cincinnati, OH 45263-3485


  Bev Standard
  1137 N. Menard St.
  Chicago, IL 00060-6051


  Beverly Glass Service
  10430 S. Western Ave.
  Chicago, IL 60643
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 32 of 190



  Beverly Tuckpointing
  2120 W. 114th Pl
  Chicago, IL 60643


  Beyer, Kayla
  6810 357th Street Way
  Cannon Falls, MN 55009


  BHA ALTAIR,LLC (Parker)
  11501 Outlook Street
  Suite 100
  Overland Park, KS 66211


  BI Nutraceuticals
  2384 E. Pacifica Place
  Rancho Dominguez, CA 90220


  Bia Diagnostics
  480 Hercules Dr
  Colchester, VT 05446


  bid-on-equipment.com
  2854 Corporate Pkwy
  Algonquin, IL 60102


  Big Ass Solutions
  2348 Innovation Driv
  P.O. Box 11307
  Lexington, KY 40575-1307


  Bilco
  P.O. Box 1203
  New Haven, CT 06505


  Bioriginal Food & Science Corp
  102 Melville Street
  CANADA
  Saskatoon, SK S7J 0R1


  Birch Benders Inc.
  5701 West 25th
  Ste A
  Edgewater, CO 80214
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 33 of 190



  Bisco Enterprise, Inc.
  305 Fairbank Street
  Addison, IL 60101-3123


  Black Hawk Paving & Construction In
  19148 104th ave
  Mokena, IL 60448


  Blackhive Corp., Inc.
  2049 E Joyce Blvd
  Suite 200
  Fayetteville, AR 72703


  Blocker & Wallace Service
  1472 Rogers Avenue
  Memphis, TN 38114


  Blommer Chocolate Company
  600 West Kinzie Street
  Chicago, IL 60654


  Blue Cross Blue Shield
  Of Illinois
  300 East Randolph Street
  Chicago, IL 60601


  Blue Diamond Growers
  P.O. Box 1768
  Sacramento, CA 95812


  Blue Diamond Growers
  1802 C Street
  P.O. Box 1768
  Sacramento, CA 95812


  Blue Line Foodservice Distribution
  Attention: AR Department
  24120 Haggerty Road
  Farmington Hills, MI 48335


  Blue Star Transport,Inc.
  819 35th Place 1st Floor
  Chicago, IL 60609
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 34 of 190



  Bluegrass Dairy and Food, Inc.
  606 W. Main St.
  Springfield, KY 40069


  BMG Landscaping
  6028 S Lener #15
  Hodgkins, IL 60525


  BMO Harris
  111 W. Monroe Street
  20th Floor East
  Chicago, IL 60603


  BMO HARRIS BANK, N.A.
  Thompson Coburn LLP
  55 E. Monroe St., 37th Floor
  Chicago, IL 60603


  BNP Media
  Po Box 2600
  Troy, MI 48007-2600


  BNSF Railway Company
  Po Box 961050
  Fort Worth, TX 76161-0050


  Boiler Equipment Company
  18w140 Butterfield Road
  Suite 1100
  Oakbrook Terrace, IL 60181


  Bold
  c/o McGuire Law PC
  55 W. Wacker, 9th Floor
  Chicago, IL 60601


  Bolds Alea



  Bolt Scavenger Service
  5819 w Ogden ave
  Cicero, IL 60804
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 35 of 190



  Bornquist, Inc.
  7050 N. Lehigh Avenue
  Chicago, IL 60646


  Borregaard Ingredients



  Bosch Packaging Technology
  36815 Treasury Center
  Chicago, IL 60694


  BR Design & Architecture
  11s220 Carpenter Street
  Lemont, IL 60439


  Brabazon Pumpe Co
  1599 Elmhurst Road
  Elk Grove Village, IL 60007


  Brady Enterprises, Inc.
  P.O. Box 51153
  Boston, MA 02205-1153


  BREIT Industrial Canyon IL 1B03 LLC
  c/o Stream Realty - Chicago, LLC
  Attn.: Property Management
  6250 N. River Road, Ste. 6025
  Rosemont, IL 60018


  BREIT Industrial Canyon IL 1B03 LLC
  c/o Gateway Industrial Properties
  Attn.: SVP - Asset Management
  3100 Bristol Street, Ste. 200
  Costa Mesa, CA 92626


  BREIT Industrial Canyon IL 1B03 LLC
  c/o Revantage Corporate Services
  Attn.: Managing Counsel
  222 South Riverside Plaza, Suite 2000
  Chicago, IL 60606


  BREIT Industrial Canyon IL 1B03 LLC
  c/o Revantage Corporate Services
  Attn.: Lease Administration
  223 South Riverside Plaza, Suite 2000
  Chicago, IL 60606
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 36 of 190



  BREIT Industrial Canyon IL1B03 LLC
  P.O. BOX 209239
  Austin, TX 78720-9239


  Brenntag Great Lakes, LLC
  4801 S. Austin
  Chicago, IL 60638


  Bridgewell Agribusiness LLC
  12420 SE Carpenter Drive
  Clackamas, OR 97015


  Bridgewell Agribusiness LLC
  c/o Adam Rutstein
  Spilotro Law Group, LLC
  6160 N. Cicero Ave., Ste. 650
  Chicago, IL 60646


  Bridgewell Agribusiness LLC
  c/o Daniel J. Spilotro, Esq.
  Spilotro Law Group, LLC
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  Chicago, IL 60646


  Briess Industries Inc
  625 S Irish rd
  P.O. Box 229
  Chilton, WI 53014-0229


  Bright Pharma Ingredients
  1908 Orchard Road
  Hood River, OR 97031


  Brim, Wardell
  4741 W. Van Buren Street
  Chicago, IL 60644


  Brookfield Ametek
  11 Commerce Blvd
  Middleboro, MA 02346-1031


  Brooks Rigging, Inc.
  P.O. Box 1391
  Bismark, ND 58502
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 37 of 190



  Brucker Company
  Department 20-1042
  P.O. Box 5940
  Carol Stream, IL 60197-5940


  BTS Solutions
  3924 W. Devon
  Suite 100
  Lincolnwood, IL 60712


  Bublich, Lennette
  10851 S. Avenue F
  Chicago, IL 60617


  Buck Scientific
  58 Fort Point Street
  East Norwalk, CT 06855


  Budenheim USA, Inc.
  245 Newtown Road
  Suite 305
  Plainview, NY 11803


  Budenheim USA, Inc.
  2219 Westbrooke Drive
  Columbus, OH 43228


  Builders Chicago Corp.
  9820 w Foster ave
  Rosemont, IL 60018


  Bulkmatic Transport
  2001 N. Cline Avenue
  Griffith, IN 46319


  Bunge Oils
  P.O. Box 798300
  St. Louis, MO 63179-8000


  Bunge Oils, Inc.
  2612 Solution Center
  Chicago, IL 60677-2006
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 38 of 190



  Bunting Magnetics
  500 S. Spencer Rd
  Newton, KS 67114


  Bunzl Processor Division/Koch Suppl



  Burcham International
  P.O. Box 988
  Irmo, SC 29063


  Busch LLC
  516 Viking Drive
  Virginia Beach, VA 23452


  Business Only Broadband
  P.O Box 25326te 2000
  Little Rock, AR 72221-5326


  Butler, Stephen D.
  1554 N. Talman Avenue
  Unit 504
  Chicago, IL 60622


  Butter Buds Inc.
  24016 Network Place
  Chicago, IL 60673-1240


  Bylin Heating Systems, Inc.
  4800 Golden Foohill Parkway
  El Dorado Hills, CA 95762


  Byrne, Thomas M.
  10152 S Trumbull
  Evergreen Park, IL 60805


  C Cretors and Company
  176 Mittel Dr
  Wood Dale, IL 60191


  C.H. Robinson Worldwide, Inc.
  25 Northwest Point
  Suite 850
  Elk Grove Village, IL 60007
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 39 of 190



  C.P. Sales, Inc.
  631 S. Joliet Street
  Maple Park, IL 60151


  C.P.E. Filters Inc.
  5 Earl Court
  Suite 130
  Woodridge, IL 60517


  C.V. Welding
  900 Noth Washington Avenue
  Kankakee, IL 60901


  Cacique de Cafe Soluvel
  Rua Horacio Sabino Coimbra 100
  Londrina, Parana 08607-2900


  Caldic USA Inc.
  2425 Alft Lane
  Elgin, IL 60124


  California Packaging
  845 North Euclid Ave
  Ontario, CA 91762


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  Sacramento, CA 94244-2280


  Calmet Services, Inc.
  Po Box 227
  Paramount, CA 90723


  Calumet Area Industrial Commission
  1000 East 111th Street
  10th Floor
  Chicago, IL 60628


  Calumet City Plumbing Co., Inc.
  645 State Street
  P.O. Box 150
  Calumet City, IL 60409
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 40 of 190



  Calumet Industrial Chicago, LLC
  3701 Executive Center Drive
  Suite 110
  Austin, TX 78731


  Calumet Trailer Service, Inc.
  1801 East. 130th Street
  Chicago, IL 60633-2310


  CamFil USA, Inc.
  One North Corporate Drive
  Riverdale, NJ


  Canada Malting Co. Ltd.
  P.O. Box 1529
  Vancouver, WA 98668


  Cano, Deysi T.
  2313 S. Millard Avenue
  Chicago, IL 60623


  Cano, Elizabeth
  2313 S. Millard Avenue
  Chicago, IL 60623


  Capital One Commercial
  P.O. Box 5219
  Carol Stream, IL 60197


  Capitol Food Co., LLC
  13930 Mica Street
  Santa Fe Springs, CA 90670


  CapX Partners
  155 N. Wacker Drive
  Suite 1760
  Chicago, IL 60606


  CapXFund IV, L.P.



  Caravan Ingredients, Inc.
  8250 Flint Sreet
  Lenexa, KS 66214
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 41 of 190



  Carboline Company
  2150 Schuetz Road
  St. Louis, MO 63146


  Carey's Construction & Paint
  204 Northridge Rd.
  Bolingbrook, IL 60440


  Carey, Dennis F.
  11457 S. Nashville Avenue
  Worth, IL 60482


  Cargill Eddyville
  17540 Monroe Wapello
  Eddyville, IA 52553


  Cargill Global Business Services
  Attn: 1001-A210
  PO Box 6032
  Fargo, ND 58108-6032


  Cargill Polyols
  P.O. Box 448
  Blair, NE 68008


  Cargill Texturizing Solutions
  P.O. Box 418954
  Boston, MA 02241-8954


  Cargill, Inc.
  P.O. Box 98220
  Chicago, IL 60693


  Cargill, Inc.
  P.O. Box 2696
  Wichita, KS 67201


  Cargill, Inc.
  P.O. Box 240457
  Charlotte, NC 28224


  Cargotuff, LLC
  5701 Cleveland Street
  Suite 350
  Virginia Beach, VA 23462
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 42 of 190



  Caribbean Appetizers
  Km 2 Desvio Carretera a Linaca
  Choluteca


  Carlyle Cocoa Company
  23 Harbor View Dr.
  New Castle, DE 19720


  Carlyn Dairy Products, Inc.
  407 Washinton Blvd
  Unit D
  Mundelein, IL 60060


  Castle Pierce
  2247 Ryf Road
  P.O. Box 2247
  Oshkosh, WI 54903


  Catering by Steve's
  13200 Baltimore Ave
  Chicago, IL 60633


  Cb-Kramer Sales & Service
  502 Crossen Avenue
  Elk Grove, IL 60007


  CCC Brands, LLC
  501 West 82nd Street
  Chicago, IL 60620


  CDW Direct LLC
  P.O. Box 75723
  Chicago, IL 60675-5723


  Celestin, Marisol
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  Chicago, IL 60632


  CenterPoint 504
  9500 Bormet Drive #105
  Mokena, IL 60448
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 43 of 190



  Centerpoint Energy Services
  2001 Butterfield Road
  Suite 750
  Downers Grove, IL 60515


  Central Scale & Supply
  13701 South Kenton Avenue
  Crestwood, IL 60445


  Central States Automatic Sprinklers
  13740 S. California Ave
  Blue Island, IL 60406-2835


  Central States Distribution Service
  3401 Lynch Creek DR
  Danville, IL 61834


  Cereal Ingredients, Inc.
  4720 S. 13th St
  Leavenworth, KS 66048


  Certified Laboratories
  Of the Midwest
  175 E. Crossroads Pkwy, Ste. F
  Bolingbrook, IL 60440


  Cha-Lor Flowers
  6960 S. Wolf Road
  Indian Head Park, IL 60525


  Chaidez, Clemente
  11413 St Lawrence
  Chicago, IL 60628


  Champion Container Corporation
  1455 Michael Drive
  Wood Dale, IL 60191


  Champion Plastics
  220 Clifton Boulevard
  Clifton, NJ 07011


  Chartis
  P.O. Box 409
  Parsippany, NJ 07054-0409
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 44 of 190



  Chavez Guzman, Paulino J.
  2534 N. Marmora Avenue
  Apt. #2
  Chicago, IL 60639


  Chavez, Agustin
  13440 Mackinaw
  Chicago, IL 60633


  Checo's Rebuilders, LLC
  4650 S. Lawndale Ave.
  Lyons, IL 60534


  Chementry Industries Inc.
  66-05 Woodhaven Blvd.
  Rego Park, NY 11374


  Chemron Starch & Supply Co.
  P.O. Box 307
  Lilburn, GA 30048


  Chemstation
  50 Frontier Way
  Bensenville, IL 60106


  ChemStation Chicago
  c/o Blair West
  934 n. Oaklawn Ave.
  Elmhurst, IL 60126


  ChemStation Chicago LLC
  c/o Mark Sigunick
  Teller, Levit & Silvertrust, P.C.
  19 S. LaSalle St., Ste. 701
  Chicago, IL 60603


  CHEP USA
  15226 Collections Center Drive
  Chicago, IL 60693


  Chep/Costco
  3800 North Division
  Morris, IL 60450
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 45 of 190



  Cherryfield Foods, Inc.
  320 Ridge Road
  Cherryfield, ME 04622


  Cherskov & Flaynik
  300 N. State Street, Suite 510
  Chicago, IL 60654


  Chevel Company
  1800 Cleveland
  Whiting, IN 46394


  Chicago Coding Systems
  394 38th Avenue
  Saint Charles, IL 60174


  Chicago Communications, LLC
  200 Spangler Ave.
  Elmhurst, IL 60126


  Chicago Cutting Die Company
  3555 Woodhead Drive
  Northbrook, IL 60062


  Chicago Filter Supply
  221 King St
  Elk Grove Village, IL 60007


  Chicago Messenger Service
  1600 South Ashland Avenue
  Chicago, IL 60628-2099


  Chicago Metro Fire Prevention
  820 N. Addison Avenue
  Elmhurst, IL 60126


  Chicago Office Tech. Group
  3 Territorial Court
  Bolingbrook, IL 60440


  Chicago Rabbinical Council
  2701 W. Howard Street
  Chicago, IL 60645
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 46 of 190



  Chicago Rail Link
  Department 968
  Denver, CO 80256-0968


  Chicago S.Shore & S. Bend RR
  505 North Carroll
  Michigan City, IN 46360


  Chicago Suburban Express
  5504 W. 47th Street
  Forestview, IL 60638


  Chicago Tire
  16001 S. Van Drunen Road
  South Holland, IL 60473


  Chicago Vegan Foods
  120 S Fairbank St.
  Unit B
  Addison, IL 60101


  CHR Hansen, Inc.
  9015 W. Maple Street
  Milwaukee, WI 53214


  Chris Fewkes



  Christopher Jones
  9904 W. 58th St.
  Countryside, IL 60525


  Christopher Marsh



  CHS Inc.
  CT Lien Solutions
  P.O. Box 29071
  Glendale, CA 91209


  CHS Protein Food Group
  2701 East 11th Ave.
  Hutchinson, KS 67501
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 47 of 190



  Chuck Hendsch
  7971 Southwind Circle
  Huntington Beach, CA 92648


  Church & Dwight Co., Inc.
  469 North Harrison Street
  Princeton, NJ 08543-5297


  Cincinnati Life Insurance
  6200 South Gilmore Road
  Fairfield, OH 45014-5141


  Cintas Corporation
  1870 Brummel Drive
  Elk Grove Village, IL 60007


  Cintas Corporation #21
  Po Box #5
  Bedford Park, IL 60499-0005


  Cintas Corporation #344
  Po Box 7759
  Romeoville, IL 60446


  Cintas Fire Protection
  PO BOX 636525
  Cincinnati, OH 45263


  Ciranda, Inc.
  221 Vine Street
  Hudson, WI 54016


  City Of Chicago
  Dept. Of Water Management
  P.O. Box 6330
  Chicago, IL 60680-6330


  City Of Chicago
  P.O. Box 71528
  Chicago, IL 60694-1528


  City Of Chicago
  Department of Revenue
  8108 Innovation Way
  Chicago, IL 60682-0081
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 48 of 190



  City Of Paramount
  16400 Colorado Avenue
  Paramount, CA 90723


  Clabber Girl Corporation
  900 Wabash Ave.
  Terre Haute, IN 47808


  CLARCOR Industral Air
  BHA Altair, LLC
  13490 Collections Center Drive
  Chicago, IL 60693


  Clasen Quality Coatings, Inc.
  5126 West Terrace Drive
  Madison, WI 53718


  Classic Automation, LLC
  800 Salt Road
  Webster, NY 14580


  Classic Container Corporation
  P.O. Box 183
  Western Springs, IL 60558


  Classic Hardware and Door, LLC
  1180 Atlantic drive
  West Chicago, IL 60185


  Clausen Miller P.C.
  10 South LaSalle
  Chicago, IL 60603


  Clear Lam Forming Films Division
  P.O. Box 71165
  Chicago, IL 60694-1165


  Clear Lam Packaging, Inc.
  P.O. Box 95153
  Chicago, IL 60694-5153


  Clearwater Associates, LTD.
  P.O. Box 6
  Racine, WI 53401-0006
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 49 of 190



  Cleaver-Brooks, Inc.
  502 Crossen Ave
  Elk Grove Village, IL 60007-2006


  Climate Engineered Structures
  141 Garlisch Dr.
  Elk Grove Village, IL 60007


  Clofine Dairy & Food Products, Inc.
  P.O. Box 7780-1148
  Philadelphia, PA 19182-1148


  Cloud Packaging Equipment
  424 Howard ave
  Desplaines, IL 60018


  CMG Construction, Inc
  14631 S. New Ave Unit 2
  Lockport, IL 60441


  CNC Service Company
  P.O. Box 632
  Menominee, MI 49858


  Cognex Corporation
  One Vision Drive
  Natick, MA 01760-2059


  Coherent, Inc.
  5100 Patrick Henry Drive
  Santa Clara, CA 95054


  Coker Service, Inc.
  125 W North Ave
  Villa Park, IL 60181


  Cold Jet, LLC
  455 Wards Corner Road
  Loveland, OH 45140


  Cole Industries
  515 E Turkeyfoot Lake Road
  Unit D
  Akron, OH 44319
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 50 of 190



  Cole-Parmer Instrument Co.
  625 E. Bunker Court
  Vernon Hills, IL 60061


  Colony Gums, Inc
  2626 Executive Point Dr
  Monroe, NC 28110


  Columbia Pipe & Supply Co.
  23671 Network Place
  Chicago, IL 60673-1236


  Columbus Foods Company
  730 North Albany
  Chicago, IL 60612


  Comax Flavors
  130 Baylis Road
  Melville, NY 11747


  ComEd
  Bill Payment Center
  Chicago, IL 06066-8001


  Command Transportation
  7500 Frontage Rd.
  Skokie, IL 60077


  Commercial Packaging
  1 Paper Chase
  Normal, IL 61761


  Commodity Specialist Company
  36 Grove Street
  New Canaan, CT 06840


  Compass Automation
  1380 Gateway Dr.
  Suite 4
  Elgin, IL 60124


  Compliance Solutions Occupational T
  3980 Quebec Street, 2nd Floor
  Denver, CO 80207
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 51 of 190



  CompressAir
  1758 Genesis Drive
  LaPorte, IN 46350


  Computer Aided Technology
  165 Arlington Heights Rd
  Suite 101
  Buffalo Grove, IL 60089


  Con-Way Mutimodal
  P.O. Box 4156
  Portland, OR 97208-4156


  ConAgra Food Ingredients
  12132 Collection Center Drive
  Chicago, IL 60693


  Conagra Food Ingredients
  P.O. Box 642210
  Omaha, NE 68164


  Concentra Medical Centers
  900 East 103rd Street
  Chicago, IL 60628


  Condon, Martin R.
  3922 West 102nd Street
  Chicago, IL 60655


  Conitex Sonoco
  1302 Industrial Pike
  Gastonia, NC 28052


  Conner & Gallagher Benefit Service
  4933 Lincoln Ave
  Suite 5
  Lisle, IL 60532


  Conney Safety Products
  3202 Latham Drive
  P.O. Box 44575
  Madison, WI 53744-4575
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 52 of 190



  Consolidated Bottle Corporation
  77 Union Street, Toronto
  CANADA
  Ontario M6N 3N2


  Consolidated Pipe & Supply Co., Inc
  23920 Stripmine Road
  Wilmington, IL 60481


  Constantini Ltd
  Suite 910-980 Howe Street
  CANADA
  Vancouver, BC V6Z 0C8


  Consulting Audiology Associates, LL
  6905 W. North Ave
  Oak Park, IL 60302


  Contemporary Energy Solutions, LLC
  621 Plainfield Road
  Suite 310
  Willowbrook, IL 60527


  Continental Mills
  PO Box 88176
  Seattle, WA 98138


  Continental Mills
  18100 Andover Park West
  Tukwila, WA 98188


  Continental Research Corp
  P.O. Box 15204
  St Louis, MO 63110


  Controls Central
  915 W. Imprerial Hwy #160
  Brea, CA 92821


  Cook County Collector
  P.O. Box 805438
  Chicago, IL 60680-4155
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 53 of 190



  Cook County Collector
  P.O. Box 641547
  Chicago, IL 60664-1547


  Cook County FOP Lodge #9
  15128 S. LaGrange Road #2494
  Orland Park, IL 60462


  Cooling Equipment Service, Inc.
  141 Garlisch Drive
  Elk Grove Village, IL 60007


  Cooperative Purchasers
  2131 E. 51St Street
  Vernon, CA 90058


  Coperion K-Tron Pitman, Inc.
  590 Woodbury Glassboro Road
  Sewell, NJ 08080


  CoreFX
  4725 N. Western Ave
  Chicago, IL 60625


  Corn Products International
  5 Westbrook Corporate Center
  Westchester, IL 60154


  Corona, Ronald J.
  5641 W. 64th Place
  Chicago, IL 60638


  Corporate Assets Inc
  373 Munster Avenue
  CANADA
  Etobicoke, ON M8Z 3C8


  Corral, Gustavo H.
  2809 S Kostner
  Chicago, IL 60623


  Cosmos Electronic Machine Corp
  140 Schmitt Blvd
  Farmingdale, NY 11735
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 54 of 190



  Cottage Grove LLC
  11861 S. Cottage Grove Avenue
  Chicago, IL 60628


  CR3 Partners, LLC
  13355 Noel Road
  Suite 310
  Dallas, TX 75240


  Crains Chicago Business
  16626 Collection Center Dr.
  Chicago, IL 60693-0004


  Cranemasters Inc.
  3001 Williamsburg Road
  Richmond, VA 23231


  Craters & Freighters, Inc.
  1277 E. Schaaf Rd. B1
  Brooklyn Hts, OH 44131


  Create A Pack Foods
  W1344 Industrial Dr.
  Ixonia, WI 53036


  Create-A-Pack Foods, Inc.
  c/o Darrell Zall
  Kohner, Mann & Kailas, S.C.,
  Washington Building, Barnabas Business C
  Milwaukee, WI 53212


  Creative Financial Staffing
  PO Box 95111
  Chicago, IL 60694-5111


  CRETE Carrier
  P.O.Box 82634
  Lincoln, NE 68501-2634


  Crowley Puerto Rico Services
  PO Box 70233
  San Juan 00963-8233
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 55 of 190



  Crown Restrooms
  1704 Lamb Road
  Unit B
  Woodstock, IL 60098


  Cruz, Ralph J.
  618 S Linden
  Elmhurst, IL 60126


  CSC Sugar, LLC
  36 Grove Street
  2nd Floor
  New Canaan, CT 06840


  CT Corporation
  P.O. Box 4349
  Carol Stream, IL 60197-4349


  CumminsNPower
  NW 7686
  PO Box 1450
  Minneapolis, MN 55485-7686


  Current Technologies
  1423 Center Circle
  Downers Grove, IL 60515


  Custom A Design LLC
  P.O. Box 217
  Mountain Home, AK 72654


  Custom Packaging Inc.
  240 S. Edison St.
  Salt Lake City, UT 84111


  CUSTOMCRETE, LLC
  2587 Millennium Dr
  Unit i
  Elgin, IL 60124


  D.D. Williamson and Co., inc.
  1901 Payne Street
  Louisville, KY 40206
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 56 of 190



  DairiConcepts, L.P.
  3641 Collection Center Drive
  Chicago, IL 60693


  Dairy Farmers of America Inc.
  10220 N Ambassador Drive
  Kansas City, MO 64153


  Dan Matyus
  17065 Warbler Lane
  Orland Park, IL 60467


  Dan's Electrical Service
  14304 S. Normal Avenue
  Riverdale, IL 60827


  Danisco USA, Inc.
  Four New Century Parkway
  New Century, KS 66031


  Dario's Pallets
  2325 S. Morgan Street
  Chicago, IL 60608


  Dave Abel Masonary
  381 Beinoris Drive UnitB
  Wood Dale, IL 60191


  Dave Jones & Assocites
  1037 Quail Hill Dr
  San Marcos, CA 92078


  Dave Madden



  David Rio
  P.O. Box 885462
  San Francisco, CA 94188-5462


  David Sinitzki
  5044 Switch Grass Lane
  Naperville, IL 60564
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 57 of 190



  Dawn Food Products
  5103 Peoria Street
  Denver, CO 80239


  Dayton Freight Lines, Inc.
  PO Box 340
  Vandalia, OH 45377


  Dearborn National Life Insurance Co
  1020 31st Street
  Downers Grove, IL 60515


  Deborah Polignone
  C/O Staff to Staff
  21200 Lagrange Rd. Suite 120
  Frankfort, IL 60423


  Decagon Devices
  2365 NE Hopkins Court
  Pullman, WA 99163


  Decernis
  1250 Connecticut Ave. NW
  Suite 200
  Washington, DC 20036


  Decko Products, Inc.
  2105 Superior Street
  Sandusky, OH 44870


  Decorative Protective Coatings Inc.
  2926 N 78th Ave
  Elmwood Park, IL 60707


  Del Packaging, Ltd.
  18113 Tedge Rd
  Cypress, TX 77429-1301


  Del's Moving Inc.
  5430 Dansher road
  Countryside, IL 60525
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 58 of 190



  Delaware Secretary Of State
  Division Of Corporations
  P.O. Box 898
  Dover, DE 19903


  Delgado, Rogelio
  2430 1st Avenue
  River Grove, IL 60171


  Dell Business Credit
  Payment Processing Center
  P.O. Box 5275
  Carol Stream, IL 60197-5275


  Delta Industries Inc.
  5235 Katrine Ave
  Downers Grove, IL 60515-4010


  Dempsey Corporation
  47 Davies
  CANADA
  Toronto, ON M4M 2A9


  Deosen USA
  1140 Stelton Road
  Suite 205
  Piscataway, NJ 08854


  Department of Homeland Security
  Financial Center Burlington
  P.O. Box 5000
  Williston, VT 05495-5000


  Department of the Treasury
  Internal Revenue Service
  P O Box 7346
  Philadelphia, PA 19101-7346


  Dependable Equipments
  3740 East 10th court
  Hialeah, FL 33013


  Desico International
  51 Cragwood Rd Suite 304
  So Plainfield, NJ 07080
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 59 of 190



  DF Ingredients, Inc.
  127 Elm Street
  Suite 200
  Washington, MO 63090


  DF Ingredients, Inc.
  Dana Foods, Inc.
  112 Mechanics St.
  Hillsboro, WI 54634


  DF Ingredients, Inc.
  Larry Rice
  127 Elm St., Ste. 200
  Washington, MO 63090


  Diamond Coring
  11800 S. Ewing Ave
  Chicago, IL 60617


  Diamond Rigging Corp.
  680 Kingsland Drive
  Batavia, IL 60510


  Diana Naturals, Inc.
  PO Box 157
  Silverton, OR 97381


  Diaz Jr., Juan
  6316 Blue Ridge Drive
  Plainfield, IL 60586


  Diaz, Juan
  6316 Blue Ridge Dr
  Plainfield, IL 60586


  Didion Milling
  501 South Williams Street
  Cambria, WI 53923


  Diequa Corporation
  180 Covington Drive
  Bloomingdale, IL 60108
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 60 of 190



  Diesel Power Equipment
  13619 Industrial Road
  Omaha, NE 68137-1129


  Dietz, Lori A.
  13456 Avenue K
  Chicago, IL 60633


  Digital Kosher
  468 Crown Street
  Brooklyn, NY 11225


  Discovery Benefits
  3216 13th Ave S
  P.O. Box 9528
  Fargo, ND 58103


  Diz Trucking
  8530 S. 77th Avenue
  Bridgeview, IL 60455


  DMH Ingredients Inc
  1228 American Way
  Libertyville, IL 60048


  Domino Foods, Inc.
  P.O. Box 751945
  Charlotte, NC 28275-1945


  Don Johns Engineering
  701 N. Raddant road
  Batavia, IL 60510


  Donaldson Company
  96869 Collection Center Drive
  Chicago, IL 60693


  Donelson Corporation
  1723 SW Adams St
  Peoria, IL 61602


  DonLevy Laboratories
  11165 Delaware Parkway
  Crown Point, IN 46307
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 61 of 190



  Doolen & Associates
  2185 Barding Ave
  Decatur, IL 62526


  Door Systems
  PO Box 775828
  Chicago, IL 60677-5828


  Dorner Company
  P.O. Box 189
  Sussex, WI 53089


  Drada, Ann R.
  14330 Creek Crossing
  Orland Park, IL 60467


  Dreisilker Electric Motors, Inc
  P.O. Box 5619
  Carol Stream, IL 60197-5619


  Drew's Plumbing, Inc.
  326 Oak Avenue
  Westmont, IL 60559


  Dryco LLC
  5400 Janes Avenue
  Downers Grove, IL 60515


  Dubak Electrical Group
  10 Beach Avenue
  LaGrange, IL 60526


  DuPont Nutrition USA, Inc.
  974 Centre Rd.
  Wilmington, DE 19805


  Dura-Ply Roofing
  151 South Rohlwing Road
  Addison, IL 60101


  Durable Controls, Inc
  515 E. Industrial Drive
  Hartland, WI 53029
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 62 of 190



  Durkin Electric Co., Inc.
  8150 W. 185th Street, Suite E
  Tinley Park, IL 60487


  DUSTCON SOLUTIONS
  P.O. BOX 33207


  Dykema Gossett Rooks Pitts
  10 S. Wacker Drive
  Suite 2300
  Chicago, IL 60606


  Dynamic Staffing Network, Inc.
  1200 Harger Road
  Suite 604
  Oak Brook, IL 60523


  E-Pak Machinery, Inc.
  1535 South State Road 39
  Laporte, IN 46350


  E. Formella & Sons, Inc.
  411 East Plainfield Road
  Countryside, IL 60525


  E.H. Lynn Industries, Inc.
  524 Anderson Drive
  Romeoville, IL 60446-1694


  E.J. Bennecke Co., Inc.
  P.O. Box 2666
  Orland Park, IL 60462


  E.J. Brooks
  164 N. 13th Street
  Newark, NJ 07107


  E.T. Snow Removal
  6615 Conrad Ave
  Hodgkins, IL 60525


  EAG Laboratories
  810 Kifer Rd
  Sunnyvale, CA 94086-5203
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 63 of 190



  Earl Genn & Associates, Inc.
  838 S Arthur Avenue
  Arlington Heights, IL 60005


  Echo Global Logistics Inc.
  22168 Network Place
  Chicago, IL 60673-1221


  Ecolab Inc.
  P.O. BOX 734059
  Chicago, IL 60673-4059


  Ecom Ingredients
  6 Penns Trail
  Suite 215
  Newton, PA 18940


  ECP Crumbs b.v.
  Branchweg 5
  5705 DR Helmond


  Edge Packaging, LLC
  10 North Mitchell Ct.
  Addison, IL 60101


  Efengee Electric Supply
  310 County Line Road
  Bensenville, IL 60106


  EFS Network, Inc.
  5959 West Las Positas Blvd
  Pleasanton, CA 94588


  Eirich Machines Inc.
  4033 Ryan Road
  Gurnee, IL 60031


  Eldex Laboratories
  30 Executive Court
  Napa, CA 94558


  Electric Motor Services
  6350 Indianapolis Blvd
  Hammond, IN 46320
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 64 of 190



  Electrical South
  235 Burgess Road
  Greensboro, NC 27409


  ElectroRus LLC
  257 Central Ave STE 2
  Jersey City, NJ 07307


  Elevate Hong Kong Holdings Limited
  Room D, 20th Floor Eton Bld
  288 Des Voeux Road Central
  CHINA
  Sheung Wan HONG KONG


  Elite Site Services, LLC
  P.O. Box 628
  Western Springs, IL 60558


  Elite Spice
  1225 E. Greg Street
  Sparks, NV 89431


  Elk Grove Custom Sheet Metal,Inc.
  106 North Lively BLVD
  Elk Grove Village, IL 60007


  Elliot Construction Corporation
  21 W 171 Hill Avenue
  Glen Ellyn, IL 60137-4860


  Ellipsis, Inc.
  3150 N Sheffield Ave
  Suite 607
  Chicago, IL 60657


  Elution Technologies
  480 Hercules Dr.
  Colchester, VT 05446


  Elvin Uhlenhopp
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 65 of 190



  Embassy Ingredients Ltd
  5 International Drive
  Unit 1-2
  CANADA
  Brampton Ontario L6T 5V9


  EMD Millipore Corporation
  25802 Network Place
  Chicago, IL 60673


  Emedco, Imc.
  39209 Treasury Center
  Chicago,, IL 60694-9200


  EnDiSys
  14329 Northdale Blvd
  Rogers, MN 55374


  Endpak Packaging Inc.
  9101 Perkins St.
  Pico Rivera, CA 90660


  Endress & Hauser, Inc.
  P.O. Box 78000
  Dept 78795
  Detroit, MI 48278


  Englewood Electrical Supply
  3939 S. Karlov Avenue
  P.O. Box 32257
  Chicago, IL 60632


  Enriquez, Ulises I.
  7205 S. Ridgeway Avenue
  Chicago, IL 60629


  Ensinger
  11 Danco Rd
  Putnam, CT 06260


  Enterprise Battery Corporation
  111 N. Pine Street
  Mt. Prospect, IL 60056
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 66 of 190



  Entoleter
  251 Welton St
  Hamden, CT 06517


  EPS Environmental Services, Inc.
  7237 West Devon Avenue
  Chicago, IL 60631


  Equator Design
  Civic Opera Building
  20 N. Wacker Drive, ste 2200
  Chicago, IL 60606


  Equilibrium Catalyst, Inc.
  P.O. Box 969
  Stockton, MO 65785


  Equipment Depot
  75 Remittance Drive
  Suite#3295
  Chicago, IL 60675


  Equipnet, Inc.
  P.O. Box 414926
  Boston, MA 02241-4926


  Eric Ladwig



  Eriez Manufacturing
  2200 Asbury Rd
  Erie, PA 16506-1440


  ESHA Research
  P.O. Box 13028
  Salem, OR 97309


  Estes Express Lines
  P.O. Box 25612
  Richmond, VA 23260-5612


  Ethridge, Abigail
  1624 Sutton Place
  Bolingbrook, IL 60490
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 67 of 190



  EU Automation Inc.
  871 Busse Road
  Elk Grove Village, IL 60007


  Eurofins Central Analytical Lab
  Post Office Box 95362
  Grapevine, TX 76099


  Evans Scholars Foundation
  1 Briar Road
  Golf, IL 60029-0301


  Evelin Tapia
  1539 S. Austin Blvd
  Cicero, IL 60804


  Evergreen Oak Electric
  P.O. Box 549
  Crestwood, IL 60445


  Evergreen Supply Company
  8402 W 183rd Street
  Tinley Park, IL 60487


  Evoqua
  PO Box 360766
  Pittsburgh, PA 15251-6766


  Ex Works Capital, LLC



  Excel Container, Inc.
  633W. Park Ave
  Aurora, IL 60506


  ExitSignage.com



  Exova, Inc.
  1920 Concept Drive
  Warren, MI 48091
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 68 of 190



  Experience Cisse
  PO Box 88
  Mamaroneck, NY 10543


  Express Employment Professionals
  P.O. Box 203901
  Dallas, TX 75320-3901


  Ezekiel, Henry U.
  1720 Arbor Lane
  Apt. 310
  Crest Hill, IL 60403


  F.C. Ingredients
  1350 W. Washington Street
  West Chicago, IL 60185


  Facility Solutions Group
  1045 Entry Drive
  Besenville, IL 60106


  Factory Cleaning Equipment
  1578A Beverly Court
  Aurora, IL 60502


  Fairborn Equipment Company Of Illin
  331 Eisenhower Lane S.
  Lombard, IL 60148


  Falcon Express
  PO Box 276
  Oak Forest, IL 60452


  FANUC America Corporation
  3900 W. Hamlin Road
  Rochester Hills, MI 48309-3253


  Fastec Services, LLC
  Po Box 14112
  Charleston, SC 29422


  Fauske & Associates, LLC
  P.O. Box 74714
  Chicago, IL 60694-4714
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 69 of 190



  FCI Flavors
  1208 N Swift Road
  Addison, IL 60101


  FCO Truck Repair Inc.
  8755 W 82nd Place
  Justice, IL 60458


  Federal Equipment Company
  8200 Bessemer Ave
  Cleveland, OH 44127


  FedEx Freight
  4103 Collection Center Drive
  Chicago, IL 60693


  Ferati Remodeling & Construction
  15826 Orlan Brook Dr.
  Unit 2S
  Orland Park, IL 60462


  Fernandez, Miguel A.
  3245 S. 61st Court
  H
  Cicero, IL 60804


  Fewkes, Chris
  478 Cassin Road
  Naperville, IL 60565


  Fiberstar, Inc.
  713 St. Croix Street
  River Falls, WI 54022


  Fibre Drum Sales, Inc.
  2414 W. 139th Place
  Blue Island, IL 60406


  Fiix Software
  HST: 801909813
  35 Golden Ave, Suite A-201
  CANADA
  Toronto, ON M6R 2J5
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 70 of 190



  Fike Corporation
  704 SW 10th St.
  Blue Springs, MO 64015


  Finlay Tea Solutions Us Inc.
  23 Vreeland Road Suite 290
  Florham Park, NJ 07932-1510


  FINN & Conway Inc
  7524 w. 98th Place
  P.O.Box 1196
  Bridgeview, IL 60455


  Fire & Security Systems, Inc.
  516 W. Campus Drive
  Arlington Heights, IL 60004


  Fire By Design
  485 Park Ave Unit 5
  Lake Villa, IL 60046


  Firmenich Incorporated
  P.O. Box 5880
  Princeton, NJ 08543


  First Access Material Handling
  6400 W 73rd Street
  Bedford Park, IL 60638


  First Advantage Background Services
  PO Box 403532
  Atlanta, GA 30384-3532


  First Communications LLC
  4070 Paysphere Circle
  Chicago, IL 60674-0040


  FIRST Insurance Funding
  450 Skokie Blvd
  Ste 1000
  Northbrook, IL 60062-7917


  First Klas Packaging Equipment
  12646 Old Plank Drive
  New Lenox, IL 60451
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 71 of 190



  First Midwest Bank
  Payment Processing:
  P.O. Box 9003
  Gurnee, IL 60031-9003


  First Midwest Bank
  CT Lien Solutions
  P.O. Box 29071
  Glendale, CA 91209


  Fisher Scientific Company, LLC
  2000 Park Lane
  Pittsburgh, PA 15275


  Fisher, Gloria
  PO Box 198974
  Chicago, IL 60619


  Fitzgerald Law Group, P.C.
  10452 S. Kedzie Ave.
  Chicago, IL 60655


  Flair Flexible Packaging Corp
  4100-72 AVE SE
  CANADA
  Calgary, AB T2C 2C1


  Flamex Inc.
  4365 Federal Drive
  Greensboro, NC 27410


  Flavor Dynamics Inc.
  640 Montrose Ave
  South Plainfield, NJ 07080


  Flavor Producers, Inc.
  28350 W. Witherspoon Pkwy
  Valencia, CA 91355


  Flavor Waves, Inc.
  4842 E. Plata Del Sol Drive
  Las Vegas, NV 89121
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 72 of 190



  Flavorchem Corporation
  1525 Brook Drive
  Downers Grove, IL 60515


  Fleetwood-Sales, Inc.
  PO Box 101
  Naperville, IL 60566-0101


  Flexicon
  2400 Emrick Blvd
  Bethlehem, PA 18020


  Flextronics
  700 Corporate Grove Drive
  Buffalo Grove, IL 60089-4552


  Flooring Solutions
  619 Enterprise Drive
  Suit203
  Oak Brook, IL 60523


  Flores, Cornelio
  298 Muskegon Ave
  Calumet City, IL 60409


  Flores, Sergio A.
  2314 Desplaines St
  Blue Island, IL 60406


  Flottweg Separation
  P.O. Box 706301
  Cincinnati, OH 45270-6301


  Fluid Power
  110 Gordon Street
  Elk Grove Village, IL 60007


  FMC Corporation
  1735 Market Street
  Philadelphia, PA 19103


  Fona International, Inc.
  P.O. Box 71333
  Chicago, IL 60694-1333
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 73 of 190



  Food and Drug Administration
  10903 New Hampshire Ave
  Silver Spring, MD 20993-0002


  Food Business News
  4800 Main Street
  Suite 100
  Kansas City, MO 64112-2513


  Foodliner, Inc.
  2099 South Park Court
  PO Box 1565
  Dubuque, IA 52004


  Foodmix
  103 W Arthur
  Elmhurst, IL 60126


  Formers By Ernie, Inc.
  7905 Almeda Genoa Road
  Houston, TX 77075


  Formula Flooring, Inc.
  14007 S. Bell Road
  Homer Glen, IN 60491


  Fort Dearborn Company
  1530 Morse Avenue
  Elk Grove Village, IL 60007


  Fortress Technology, Inc.
  51 Grand Marshall Drive
  CANADA
  Scarborough, ON M1B 5N6


  FPE Automation
  110 Gordon St
  Elk Grove Village, IL 60007-1120


  Franchise Data Processing, LLC
  5474 Williams Road, Suite 2D
  Tampa, FL 33610
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 74 of 190



  Franco, Jacqueline R.
  9036 West 92nd Place
  Hickory Hills, IL 60457


  Frank H. Gill Company
  2859 Bernice Road
  Lansing, IL 06043-8073


  Franklin Baker Inc.
  8275 Tournament Drive
  Suite 305
  Memphis, TN 38125


  Franklin Baker, Inc.
  c/o Mario A. Sullivan
  Johnson & Sullivan, Ltd.
  11 E. Hubbard St., Ste. 702
  Chicago, IL 60611


  Fred Glinke Plumbing and Heating
  121 Post Circle
  Hinsdale, IL 60521


  Freeze-Dry Ingredients
  188 W. Industrial Drive
  Elmhurst, IL 60126


  Fres-Co System USA, Inc.
  3005 State Road
  Telford, PA 18969


  Freund Container & Supply
  4200 Commerce Court
  Suite 206
  Lisle, IL 60532


  Friends Of John Pope
  22 West Washington Street
  Suite 1500
  Chicago, IL 60602


  Friends of Susan Sadlowski Garza
  10500 S. Ewing 2nd Fl
  Chicago, IL 60617
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 75 of 190



  FrieslandCampina Ingredients
  North America, Inc.
  61 South Paramus Road
  Paramus, NJ 07652


  Frontier Bag, Inc.
  P.O. Box 200
  Grandview, MO 64030


  Frutarom USA Inc.
  P.O. Box 841921
  Boston, MA 02284-1921


  FSG Track Services
  3217 178th Street
  Lansing, IL 60438


  Fuchs North America, Inc
  P.O. Box 62364
  Baltimore, MD 21264-2364


  Fumigation Service & Supply, Inc.
  16950 Westfield Park Road
  Westfield, IN 46074


  Future Environmental, Inc.
  19701 South 97th Avenue
  Mokena, IL 60448


  G.N. Plastics Company Limited
  P.O. Box 710, 345 Old Trunk 3
  CANADA
  Chester, NS B0J1J0


  Gabriel Environmrntal Service
  1421 N. Elston Ave
  Chicago, IL 60642


  Gallegos, Florentina
  2430 S Drake
  Chicago, IL 60623


  Gallo Equipment Company
  11835 S. Avenue O
  Chicago, IL 60617
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 76 of 190



  Gamboa, Fernando
  9011 Chestnut Drive
  Hickory Hills, IL 60457


  Garcia, Jose A.
  5410 South Luna
  Chicago, IL 60638


  Gateway Packaging Company, LLC
  605 TN-76
  White House, TN 37188


  Gaughan, Patrick
  306 Cottage Hill Ave
  Elmhurst, IL 60126


  Gavin, Toni L.
  6413 S. Hoyne Avenue
  Apt. B
  Chicago, IL 60636


  GE Capital
  P.O. Box 740441
  Atlanta, GA 30374-0441


  Gedvilas, Susan
  618 Kohley Road
  Lisle, IL 60532


  Gelita USA, Inc.
  10 Wentworth Ave.
  Calumet City, IL 60409


  Gelnex
  1615 Northern Blvd.
  Suite 101
  Manhasset, NY 11030


  George E. Booth Co., Inc.
  8202 West 10th street
  Indianapolis, IN 46214


  George Hammond
  14313 Wooded Path Lane
  Orland Park, IL 60462
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 77 of 190



  George J. Roll & Sons
  2258 Vermont Street
  Blue Island, IL 60406


  Georgia-Pacific Corrugated LLC
  3265 Gilchrist Road
  Akron, OH 44260


  Gerber California, Inc.
  9255 Towne Centre Drive
  Suite 950
  San Diego, CA 92121


  GHC Mechanical, Inc.
  990 Pauly Drive
  Elk Grove Village, IL 60007


  Ghirardelli Chocolate Company
  1111 139th Avenue
  San Leandro, CA 94578


  Gierczyk, Inc.
  16200 Clinton Street
  Harvey, IL 60426


  Gierczyk, Inc.
  c/o John A. Krupa
  195 W. Joe Orr Rd., Ste. 200
  Chicago Heights, IL 60411


  Giese Manufacturing Co Inc
  7025 Chavenelle Rd
  Dubuque, IA 52002


  Gillco Ingredients
  1701 La Costa Meadows Drive
  San Marcos, CA 92078


  Gilster Mary Lee Corp
  1037 State St.
  Chester, IL 62233


  Givaudan Flavors Corporation
  1199 Edison Drive
  Cincinnati, OH 45216
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 78 of 190



  Glanbia Ingredients
  Main Street,Dungarvan
  CO. Waterford
  Ireland


  Glanbia Nutritionals Inc.
  5500 Nobel Drive
  Suite 250
  Fitchburg, WI 53711


  Glatt
  20 Spear Road
  Ramsey, NJ 07446


  GLK Foods, LLC
  3912 N. Lightning Drive
  Appleton, WI 54913


  Global Design, Inc.
  Po Box 5434
  Lansing, IL 60438


  Global Equipment Company
  P.O. Box 905713
  Charlotte, NC 28290-5713


  Global Industrial
  11 Harbor Park Dr.
  Port Washington, NY 11050


  Global Organics, LTD
  68 Moulton St.
  Cambridge, MA 02138


  Global Search Network
  118 S. Freemont Ave
  Tampa, FL 33606


  Global Water Technology, Inc.
  354 W. Armory Drive
  South Holland, IL 60473
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 79 of 190



  Gluten Intolerence Group
  Of North America
  31214 124th Ave SE
  Auburn, WA 98092


  Godfroy Group Industrial Products
  1235-A North Clybourn Avenue
  Chicago, IL 60610


  Gold Coast Ingredients
  P.O. Box 911612
  Los Angeles, CA 90091


  Goldblatt Sewing Machines, Inc.
  1511 Milwaukee Ave.
  Chicago, IL 60622-2009


  Gomez Fencing Inc.
  9332 S Anthony Ave
  Chicago, IL 60617


  Gorham Industrial
  200 Jasmine Ln
  Windsor, SC 29856


  Graham Chemical Corporation
  125 South Grove Ave.
  Suite 206
  Barrington, IL 60010


  Grain Craft
  463 West Highway 26
  Blackfoot, ID 83221


  Grain Millers, Inc.
  605 Grain Millers Drive
  St. Ansgar, IA 50472


  Grain Processing Corporation
  1600 Oregon Street
  P.O. Box 349
  Muscatine, IA 52761
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 80 of 190



  Grainger
  100 Grainger Parkway
  Lake Forest, IL 60045


  Graphic Packaging International
  Po Box 404170
  Atlanta, GA 30384-4170


  Great Lakes Distributing
  2601 Bernice Road
  Lansing, IL 60438


  Great Lakes Milk Products, Inc.
  Dept 10301
  P.O. Box 87618
  Chicago, IL 60680


  Great Northern Corporation
  421 Palmer St.
  Chipppewa Falls, WI 54729


  Green Bay Packaging, Inc.
  Bin No. 53139
  Milwaukee, WI 53288


  Grey Hill & Associates
  13 N Hudson Street
  Westmont, IL 60559


  Griffin Supply
  5026 Columbia Ave
  Hammond, IN 46327


  Griffith Foods
  1 Griffith Center
  Alsip, IL 60803


  Grindal Company
  1551 E. Industrial Dr.
  Itasca, IL 60143


  Groot Industries, Inc.
  P.O. Box 535233
  Pittsburgh, PA 15253-5233
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 81 of 190



  Group O
  P.O. Box 860144
  Minneapolis, MN 55486-0144


  Grow Foods
  PO Box 20893
  Charleston, SC 29413


  GTC Nutrition
  5 Westbrook Corporate Center
  Westchester, IL 60154


  Guardian
  P.O. Box 677458
  Dallas, TX 75267-7458


  Guittard Chocolate Company
  10 Guittard Rd.
  Burlingame, CA 94010


  Gulf Great Lakes Pkg. Corp.
  1040 Maryland Avenue
  Dolton, IL 60419


  Guzman, Elizabeth
  5064 W. 32nd Street
  2nd Floor
  Cicero, IL 60804


  H&H Design & Manufacturing, LLC
  304 South 53rd Street
  Parsons, KS 67357


  H.W. Dahnke Sales Co., Inc.
  W32882 Watertown Plank Road
  Nashotah, WI 53058-0177


  Hach Company
  2207 Collections Center Drive
  Chicago, IL 60693


  Haifa North America, Inc.
  307 Cranes Roost Blvd.
  Suite 2030
  Altamonte Springs, FL 32701
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 82 of 190



  Hajack & Associates, Inc.
  214 South Clay Street
  Hindsdale, IL 60521-4034


  Hall Technologies
  6300 Bartmer Industrial Drive
  St. Louis, MO 63130


  Hamilton Grant Software Ltd
  Seymour House
  Lower South Street
  United Kingdom
  Godalming, Surrey GU7 1BZ


  Hammond, George H.
  14313 Wooded Path Lane
  Orland Park, IL 60462


  Hapman
  6002 E. N Avenue
  P.O. Box 2321
  Kalamazoo, MI 49048


  Harold'S Lock & Key
  9966 S. Commercial Avenue
  Chicago, IL 60617


  Harris & Ford, LLC
  9307 E. 56th Street
  Indianapolis, IN 46216


  Harris Equipment Corp
  2040 North Hawthorne
  Melrose Park, IL 60160


  Harry Davis & Company
  1725 Boulevard of the Allies
  Pittsburgh, PA 15219


  Harvest Food Group
  30W260 Butterfield Rd.
  Warrenville, IL 60555
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 83 of 190



  Hassell, Jeffrey D.
  524 Livingston Drive
  New Lenox, IL 60451


  Hatfield and Company Inc.
  418 Shawmut Ave.
  LaGrange, IL 60525


  Haug Quality Equipment
  18443 Technology Drive
  Morgan Hill, CA 95037


  Hayes Mechanical
  5959 South Harlem Ave
  Chicago, IL 60638-3131


  Hayssen Flexible Systems
  225 Spartangreen Blvd
  Duncan, SC 29334


  Hazardous Waste Haulers, Inc.
  7305 Duvan Dr.
  Tinley Park, IL 60477


  Health Advocate, Inc.
  3043 Walton Road
  Suite 150
  Plymouth Meeting, PA 19462


  Healthy Food Ingredients
  4666 AMBER VALLEY PARKWAY S
  Fargo, ND 58104


  Heat and Control, Inc.
  21121 Cabot Blvd
  Hayward, CA 94545-1132


  Heat Exchange and Transfer Inc.
  500 Superior Street
  Carnegie, PA 15106


  Heat Sealing Solutions, Inc.
  1072 Providence Blvd
  Deltona, FL 32725
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 84 of 190



  Hedman, Jeffery W.
  640 Washington Court
  Roselle, IL 60172


  Helix Logistics, LLC
  6734 Joliet Rd, Ste 202
  Countryside, IL 60525


  Helken Equipment Company
  171 Erick Street Unit Q1
  Crystal Lake, IL 60014


  Helmar Performance Technology Parts
  100 Red Schoolhouse Road
  Unit C
  Chestnut Ridge, NY 10977


  Henningsen Foods Inc.
  14334 Industrial Road
  Omaha, NE 68144


  Heritage Enviromental
  7901 West Morris Street
  Indianapolis, IN 46231


  Heritage Global Partners
  1576 Rollins Road
  Burlingame, CA 94010


  Heritage Snacks & Food Co., LTD
  34/1-34/2 Moo 5
  Putthamonthon Sai 4 Rd
  Kratumlom, Sampran 73220


  Heritage-Crystal Clean
  13621 Collections Center Drive
  Chicago, IL 60693-0136


  Hernandez, Erica
  13104 81st Avenue
  Dyer, IN 46311


  Hernando Torres
  11359 S. Avenue "L"
  Chicago, IL 60617
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 85 of 190



  Herrera Navarro, Ignacio
  4754 S. Komensky Avenue
  Chicago, IL 60632


  Hertz Equipment Rental
  P.O. Box 650280
  Dallas, TX 75265-0280


  Higgins Overhead Door LLC
  1305 Erie Court, Suite A
  Crown Point, IN 46307


  High Quality Organics
  12101 Moya Blvd
  Reno, NV 89506


  High Ridge Partners
  140 South Dearborn
  Suite 420
  Chicago, IL 60603


  Hilary Kent



  Hilco Industrial, LLC
  171 Monroe Ave N.W
  Suite 500
  Grand Rapids, MI 49503


  Hill Mechanical Corp.
  11045 Gage Ave
  Franklin Park, IL 60131


  Hilmar Cheese Company



  Hilmar Ingredients
  8901 North Lander Ave
  Hilmar, CA 95324


  Hilti, Inc.
  P.O. Box 382002
  Pittsburgh, PA 15250-8002
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 86 of 190



  Hitachi Capital America Corp.
  Lien Solutions
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  Glendale, CA 91209


  Hitachi Capital America, Corp
  7808 Creekridge Circle
  Edina, MN 55439


  Hitachi Industrial Equipment
  2730 Greenleaf Avenue
  Elk Grove Village, IL 60007-5514


  HMC Products, Inc.
  7165 Greenlee Drive
  Caledonia, IL 61011


  HMC Products, Inc.
  HMC Products, Inc.
  7165 Greenlee Drive
  Caledonia, IL 61011


  Hobbs Overhead Doors
  11700 S Cicero Ave
  Alsip, IL 60803


  Hochbaum Machine Services
  11 Wood Court
  Hebron, IN 46341


  Holland Applied Technologies
  7050 High Grove Blvd
  Burr Ridge, IL 60527


  Holman Boiler Works Inc.
  502 Crossen Ave
  Elk Grove Village, IL 60007


  Holohan Heating & Sheetmetal
  575 W. Seneca St.
  Kankakee, IL 60901


  Holton Food Products Company
  500 W. Burlington Avenue
  La Grange, IL 60525
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 87 of 190



  Holton Food Products Company
  500 W. Burlington Ave
  LaGrange, IL 60525


  Hometown Foods
  500 West Madison Street
  Suite 3650
  Chicago, IL 60661


  Honeyville, Inc.
  1040 West 600 North
  Ogden, UT 84404


  Hoogwegt U.S. Inc.
  3104 Paysphere Circle
  Chicago, IL 60674


  Horizon Milling
  101 Normanskill Street
  Albany, NY 12202


  Hormel Foods Corporation
  1 Hormel Place
  Austin, MN 55912


  Hosokawa Micron Powder Systems
  10 Chatham Road
  Summit, NJ 07901


  Howard Simon & Associates
  304 Saunders Road
  Riverwoods, IL 60015-3858


  HUB International Midwest Ltd.
  15174 Collections Center Drive
  Chicago, IL 60693


  Huhtamaki, Inc
  9201 Packaging Drive
  Desoto, KS 66018


  Hulcher Services Inc.
  611 Kimberly Drive
  P.o. Box 271
  Denton, TX 76202-0271
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 88 of 190



  Humberto Rodriguez
  9617 S. Muskegon Ave
  Chicago, IL 60617


  HYG Financial Services, Inc.
  P.O. Box 14545
  Des Moines, IA 50306-3545


  HYG Financial Services, Inc.
  Corporation Service Company
  801 Adlai Stevenson Dr.
  Springfield, IL 62703


  Hygiena LLC
  941 Avenida Acaso
  Camarillo, CA 93012


  Hygieneering, Inc.
  7575 Plaza Court
  Willowbrook, IL 60527


  I.P.S.C. Company, Inc.
  7237 N. Odell Avenue
  Chicago, IL 60631-4350


  ICA USA
  P.O. Box 944
  115 Davis Street
  Monroe, GA 30655


  ICafe, Inc.
  W223 N790 Saratoga Drive
  Waukesha, WI 53186


  ID Label Inc.
  425 Park Avenue
  Lake Villa, IL 60046


  ID Technology
  5051 North Sylvania Avenue
  Suite 405
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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 89 of 190



  Idaho Milk Products
  2249 S. Tiger Dr
  Jerome, ID 83338


  IFC Solutions
  1601 E. Linden Avenue
  Linden, NJ 07036-1508


  ifm efector inc.
  1100 Atwater Drive
  Malvern, PA 19355


  IFP, Inc.
  2125 Airport Drive
  Faribault, MN 55021


  Igor Cvjetkovic
  430 E. 162th St #274
  South Holland, IL 60473-2258


  ILLCO, Inc.
  P.O. Box 1330
  Aurora, IL 60507


  Illiana Instrumentation Service LLC
  1831 Govert Drive
  Schererville, IN 46375


  Illinois Business Financial Service
  411 Hamilton Blvd
  Suite 1330
  Peoria, IL 61602


  Illinois Department Of Agriculture
  Bureau Of Warehouses
  P.O. Box 19281
  Springfield, IL 62794-9281


  Illinois Department of Employment Securi
  Benefit Payment Control Division
  P O Box 4385
  Chicago, IL 60680
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 90 of 190



  Illinois Department of Revenue
  Bankruptcy Unit
  P O Box 19035
  Springfield, IL 62794-9035


  Illinois Department of Revenue
  Office Collection Section
  P.O. Box 64449
  Chicago, IL 60664-0449


  Illinois Dept of Public Health



  Illinois Emergency Management
  1035 Outer Park Drive
  Springfield, IL 62704-4491


  Illinois Instruments Inc
  2401 Hiller Ridge Road
  Johnsburg, IL 60051


  Illinois Liquor Commission
  100 W. Randolph Street
  Suite 7-801
  Chicago, IL 60601


  Illinois Secretary of State



  Illinois State Fire Marshal
  P.O. Box 3331
  Springfield, IL 62708-3331


  Illinois State Toll Highway Authority
  Illinois Tollway
  2700 Ogden Ave
  Downers Grove, IL 60515


  Illinois State Toll Highway Authority
  c/o Thomas W. Conklin, Jr.
  Conklin & Conklin, LLC
  53 W. Jackson Blvd., Suite 1150
  Chicago, IL 60604
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 91 of 190



  Illinois Student Assistance Commission
  Bankruptcy Department
  1755 Lake Cook Road
  Deerfield, IL 60015


  Imbibe
  7350 N Croname Rd
  Niles, IL 60714


  IMCD US, LLC
  14725 Detroit Avenue
  Suite 300
  Lakewood, OH 44107


  Impact Networking, LLC
  75 Remittance Drive
  Suite 1076
  Chicago, IL 60675-1076


  Imperial Crane Services, Inc.
  7500 w. Imperial Drive
  Bridgeview, IL 60455


  Importers Service Corporation
  65 Brunswick Avenue
  Edison, NJ 08817


  INCON Inkjet Printer Service
  3436 West Melrose Ave
  Chicago, IL 60618


  Indelco Plastics Corporation
  6530 Cambridge Street
  Minneapolis, MN 55426-4484


  Independent Pipe and Supply Company
  11645 Merrion Lane
  Merrionette Park, IL 60803


  Independent Recycling Services
  2401 S. Laflin Street
  Chicago, IL 60608
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 92 of 190



  Indiana Sugars
  5918 Collection Center Drive
  Chicago, IL 60693


  Indoff Incorporated
  11816 Lackland Ave
  St. Louis, MO 63146


  IndustRecycle LLC
  P.O. Box 3201
  Andover, MA 01810-0804


  Industrial Accessories Company, Inc
  4800 Lamar Avenue Suite 203
  Mission, KS 66202-1775


  Industrial Oil Products
  144 Woodbury Road
  Woodbury, NY 11797


  Industrial Pallet
  11349 US 52 South
  Clarks Hill, IN 47930


  Industrial Service Products, LLC
  8448 West 45th Street
  Lyons, IL 60534


  Industrias Marino S.A. de C.V
  Carretera Inernacional
  Km. 1,193.5 al Sur Col Anahuac
  Mazatlan, Sinaloa 82188


  INDY-CHEM
  P.O. Box 477
  ST John, IN 46373


  Infinisource
  P.O. Box 889
  Coldwater, MI 49036


  Ingersoll Rand Company
  131 Diversey Ave
  Elmhurst, IL 60126
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 93 of 190



  Ingredients Solutions Inc.
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  Waldo, ME 04915


  Ingredients, Inc.
  1130 W. Lake Cook Road
  Suite 320
  Buffalo Grove, IL 60089


  Ingredion, Inc.
  12981 Collections Center Drive
  Chicago, IL 60693


  Ingredion, Inc.
  6400 S. Archer Avenue
  Bedford Park, IL 60501


  Ingredion, Inc.
  5 Westbrook Corporate Center
  Westchester, IL 60154


  Ingredion, Inc.
  Accounts Payable
  P.O. Box 1084
  Indianapolis, IN 46206


  Ingredion/TIC Gums
  4609 Richlyn Drive
  Belcamp, MD 21017


  InkJet, Inc.
  P.O. Box 847501
  Dallas, TX 75284


  Innophos, Inc.
  Po Box 60590
  Charlotte, NC 28260-0590


  Innophos, Inc.
  1101 Arnold Street
  Chicago Heights, IL 60411
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 94 of 190



  Innovative Molding
  1200 Valley Drive
  Suite 100
  Rohnert Park, CA 94928


  Innovative Packaging
  1849-B Elmdale Ave
  Glenview, IL 60026


  Innovative Packaging Solutions
  43513 Ridge Park Drive
  Temecula, CA 92590


  INPAK Systems, INC
  540A Tasman Street
  Madison, WI 53714


  Insight Beverages
  750 Oakwood Road
  Lake Zurich, IL 60047


  Insight Direct USA, Inc.
  6820 South Harl Avenue
  Tempe, AR 85283


  Institute Of Food Technologists
  97478 Eagle Way
  Chicago, IL 60678-9740


  Intelligent Food Solutions B.V.
  Valeton 3
  5301 LW Zaltbommel
  The Netherlands


  Intelligent Management Solutions LL
  4400 Bayou Boulevard
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  Interactive Health Solutions
  1700 East Golf Road
  Suite 900
  Schaumburg, IL 60173
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 95 of 190



  Interior Flooring Services
  2658 Golf Rd.
  Joliet, IL 60432


  International Flavors and Fragrance
  150 Docks Corner Rd.
  Dayton, NJ 08810


  International Paper Company
  180 Exchange Blvd
  Glendale Heights, IL 60139


  International Service & Rebuilding
  P.O. Box 1490
  Dayton, NV 89403


  Interstate Battery Of Chicago
  16220 Crawford
  Tinley Park, IL 60478


  Intertek Testing Services
  70 Codman Hill Rd
  Boxborough, MA 01719


  Intralox, Inc.
  301 Plantation Road
  New Orleans, LA 70150-0699


  Inventive Private Label
  555 Goffle Road, Suite 222
  Ridgewood, NJ 07450


  IPSwitch Inc.
  83 Hartwell Ave
  Lexington, MA 02421


  Islamic Services of America
  P.O. Box 521
  Cedar Rapids, IA 52406-0521


  Istha
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 96 of 190



  Ixmation Inc.
  471 Fox Court
  Bloomingdale, IL 60108


  J M Smuckers
  1260 W. Laskey Road
  Toledo, OH 43612


  J&A Freight Systems Inc.
  4704 W. Irving Park Road
  Suite 8
  Chicago, IL 60641


  J&M Industrial
  720 Jack Burlingame Dr.
  Millwood, WV 25262


  J. Anderson Construction, Inc.
  293 Shenstone Road
  Riverside, IL 60546


  J. Martin Construction, Inc.
  518 South Route 31
  Suite 400
  McHenry, IL 60050


  J. Rettenmaier USA LP
  16369 US 131 Highway
  Schoolcraft, MI 49087


  J. Warner Electric, Inc.
  P.O. Box 189
  Orland Park, IL 60462


  J.B. Hunt Transport, Inc
  615 J.B. Hunt Coporate Drive
  Lowell, AR 72745


  J.J.Keller & Associates, Inc.
  PO Box 6609
  Carol Stream, IL 60197-6609
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 97 of 190



  J.M. Smucker Company
  1 Straberry Lane
  P.O. Box 280
  Orrville, OH 44667


  J.P. Hopkins Sewer Contractors
  4530 West 137th St.
  Crestwood, IL 60445


  J.T. Landscaping & Concrete
  1515 Belle View Ave
  Rockdale, IL 60436


  Jack Freeman



  Jack Pedowitz Enterprises, Inc.
  1765 Expressway Drive North
  Hauppauge, NY 11788


  Jackson, Herman
  7134 S. Carpenter
  Chicago, IL 60621


  Jackson, Kevin D.
  11122 S. Green
  Apt. #1
  Chicago, IL 60643


  Jacobs Boiler & Mechanical Industri
  6632 west Diversey ave
  Chicago, IL 60707-2217


  Jacobson Warehouse Company Inc
  PO Box 8098
  Des Moines, IA 50301


  Jacqueline Franco



  Jaime's Truck Repair LLC
  10326 S Indianapolis Ave
  Chicago, IL 60617
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 98 of 190



  James Gordon
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  Jason McMillin
  2814 Brook Ct.
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  JB Cocoa, Inc.
  299 Park Avenue
  6th Floor
  New York, NY 10171


  JB Packaging, Inc.
  1598 Leabrook Lane
  Wheaton, IL 60189


  JC Cross Co.
  5328 Tremont Avenue
  Davenport, IA 52807


  JC Heating & Cooling
  7099 Santa Fe Drive
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  Hodgkins, IL 60525


  Jeff Hassell



  Jeff Hedman
  640 Washington Court
  Roselle, IL 60172


  Jennifer Fox
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 99 of 190



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  Harrington, DE 19952


  JM Swank, LLC
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  Dallas, TX 75320-6905


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  Wheeling, IL 60090


  Jogue Incorporated
  14731 Helm Court
  Plymouth, MI 48170


  John B. Sanfilippo & Son, Inc.
  1703 N. Randall Road
  Elgin, IL 60123


  John J Pempek, Inc.
  11745 Southwest Highway
  Palos Heights, IL 60463


  John J. Rickhoff Sheet Metal
  320 East 152nd Street
  Harvey, IL 60426


  John P. Fitzgerald, Ltd.
  10452 South Kedzie Avenue
  Chicago, IL 60655-2018
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 100 of 190



  John Sakash Company, Inc.
  700 Walnut Street
  Elmhurst, IL 60126


  Johnson Controls Security Solutions
  P.O Box 371967
  Pittsburgh, PA 15250-7967


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  Chicago, IL 60619


  Jones, Alicia P.
  15031 Minerva Avenue
  2N
  Dolton, IL 60419


  Jones-Hamilton Company
  Gene Meyer
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  Walbridge, OH 43465


  Joseph Krueger
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  Joseph Litza



  Joshua Stanley
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  Salem, NH 03079


  Joyce Watford



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  14412 Oakley Avenue
  Orland Park, IL 60462
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 101 of 190



  K-Tron America, Inc.
  P.O. Box 888
  Pitman, NJ 08071


  K2 Engineering Group
  W224 S8555 Industrial Ave
  Big Bend, WI 53103-0280


  Kabar Manufacturing Corporation
  140 Schmitt Blvd
  Famingdale, NY 11735


  Kaleidoscope Imaging, Inc.
  700 N. Sacramento Blvd
  Chicago, IL 60612


  Kaltec Scientific, Inc
  22425 Heslip Drive
  Novi, MI 48375-4138


  Kalustyan Corporation
  855 Rahway Avenue
  Union, NJ 07083


  Kaminski, Andrew D.
  141 N Madison Ave
  La Grange, IL 60525


  Kano Laboratories
  P.O. Box 110098
  Nashville, TN 37222


  KapStone Container Corporation
  1101 Skokie Blvd
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  Northbrook, IL 60062


  Kara L VanKleek
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  1845 Oak Street
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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 102 of 190



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  Jessica M. Wojtowicz, P.C.
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  67-71 East Willow Street
  Millburn, NJ 07041


  Kate Ruane



  Kayla Beyer
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  130 N. Edgewood Ave.
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  Kellog Company
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  Grand Rapids, MI 49588


  Kellogg Company Procure-to-pay
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  Grand Rapids, MI 49588


  KELLY Services
  1212 Solutions Center
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  Keltech, Inc.
  729 S. Grove
  Delton, MI 49046


  Kemutec Group Inc.
  130 Wharton Road
  Bristol, PA 19007
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 103 of 190



  Kent Precision Foods Group, Inc.
  11457 Olde Cabin Rd.
  St. Louis, MO 63141


  Kent, Hilary L.
  17522 Gilbert Drive
  Lockport, IL 60441


  Kentucky State Treasurer
  Kentucky Department of Revenue
  Frankfort, KY 40620-0021


  Kerry Ingredients & Flavours
  3400 Millington Road
  Beloit, WI 53511-6227


  Kett US
  PMB 504, 17853 Santiago Blvd
  Ste. 107
  Villa Park, CA 92861


  Keyence
  Dept CH 17128
  Palatine, IL 60055-7128


  KH International, Inc.
  1649 N Decatur Rd NE
  Atlanta, GA 30307


  Kice Industries, Inc.
  5500 Mill Heights Drive
  Wichita, KS 67219


  King Arthur Flour Co. Inc.
  62 Fogg Farm Rd.
  White River Jct., VT 05001


  King Milling Company
  115 S. Broadway
  Lowell, MI 49331
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 104 of 190



  King Milling Company
  c/o Adam Rutstein
  Spilotro Law Group, LLC
  6160 N. Cicero Ave., Ste. 650
  Chicago, IL 60646


  King Milling Company
  c/o Daniel J. Spilotro, Esq.
  Spilotro Law Group, LLC
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  Chicago, IL 60646


  King Plastics, Inc.
  840 North Elm Street
  Orange, CA 92867


  Kingsway Marketing
  7373 Washington Ave. S.
  Edina, MN 55439


  Kiser Controls
  7045 High Grove Blvd
  Burr Ridge, IL 60527


  Kliklok-Woodman
  5224 Snapfinger Woods Drive
  Decatur, GA 30035


  Knickerbocker Roofing & Paving Co.
  16851 South Lathrop Ave
  Harvey, IL 60426


  Kodiak Cakes
  3247 Santa Fe Road
  Park City, UT 84098


  Kole Construction Co., Inc.
  1235 Naperville Drive
  Romeoville, IL 60446


  KONECRANES INC.
  PO Box 641807
  Pittsburgh, PA 15264-1807
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 105 of 190



  Konica Minolta Sensing Americas, In
  101 Williams Drive
  Ramsey, NJ 07446


  Koppers Inc
  436 Seventh Ave #1600
  Pittsburgh, PA 15219


  Koppers, Inc.
  c/o Graham M. Liccardi
  Teller, Levit & Silvertrust, P.C.
  19 S. LaSalle St., Ste. 701
  Chicago, Il 60603


  Koss Industrial Inc.
  1943 Commercial Way
  Green Bay, WI 54311


  Kraft Chemical Company
  1975 N. Hawthorne Ave
  Melrose Park, IL 60160


  Kraft Heinz Company
  200 East Randolph Street
  Suite 7600
  Chicago, IL 60601


  Kratz Plumbing Company
  5305 Pistakee Drive
  McHenry, IL 60051


  Krisch Land Survey LLC
  P.O. Box 929
  Plainfield, IL 60544-0929


  Krueger, Joseph E.
  650 N. Green Street
  #3
  Chicago, IL 60642


  KSF Acquisition Corp
  11780 US Hwy One
  Suite 400N
  Palm Beach Gardens, FL 33408
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 106 of 190



  Kustom Towing
  7664 W Lawndale Ave
  Summit, IL 60501


  Kutak Rock LLP
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  1801 California Street, Suite 3000
  Denver, CO 80202


  Kyndylan, Bryce W.
  2233 S. Highland Avenue
  Apt. 1401
  Lombard, IL 60148


  Kyung Won Chemical Company, LTD
  17 Baekisukri
  Paju-eup
  South Korea
  Paju Kyungki-do 413-861


  L-R Systems, Inc.
  470 S. Hammes Avenue
  Joliet, IL 60436


  L.V. Lomas Inc.
  1850 SW 67th Avenue
  Suite 110
  Portland, OR 97223


  Lab Safety Supply
  GHC Specialty Brands, LLC
  P.O. Box 1368
  Janesville, WI 53547-1368


  Labshops
  AZZOTA Corporation
  178 Franklin Road
  Randolph, NJ 07869


  Labsource
  97400 Eagle Way
  Chicago, IL 60678
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 107 of 190



  Ladwig Business Forms, Inc.
  1030 S. Lagrange Road
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  Lagrange, IL 60525


  Ladwig, Sally J.
  4941 Wick Dr
  Oak Lawn, IL 60453


  LaGrange Lock & Safe
  5546 s Brainards ave
  Countryside, IL 60525


  Laird Middleton
  8302 E. Hunters Hill Drive
  Centennial, CO 80112-1915


  Land O'Lakes Inc
  P.O. Box 96314
  Chicago, IL 60693-6314


  Landstar Inway, Inc.
  12793 Collections Center Drive
  Chicago, IL 60693


  Laner Muchin, Ltd.
  515 N. State St.
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  Chicago, IL 60654-4688


  Lantech.com LLC
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  Carol Stream, IL 60122-8001


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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 108 of 190



  Latitude Ltd.
  37 West Shore Road
  Huntington, NY 11743


  Laurus Strategies
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  Brighton, MI 48114


  Lawrence Ricci Industrial Equipment
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  Lawrence Scacciaferro
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  St Louis, MO 63129


  Lawrence Scacciaferro, LLC
  2791 Towne Oaks Dr
  St Louis, MO 63129


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  Leprino Foods Dairy Products
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  Les Moore & Company, LLC
  500 W. Ninth Street
  Lockport, IL 60441
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 109 of 190



  Lesaffre Yeast Corporation
  Department 59932
  Milwaukee, WI 53259-0932


  Lesman Instrument Co.
  P.O Box 7640
  Carol Stream, IL 60197-7640


  Leverity Insurance Group, Inc.
  3737 Park East Drive
  Suite 204
  Beachwood, OH 44122


  Lincoln National Life
  Insurance Company
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  Carol Stream, IL 60132-0821


  Lindy Construction Co., Inc.
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  Hebron, IL 60034


  Lion Raisins
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  Lion Raisins, Inc.
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  Spilotro Law Group, LLC
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  Lionize Trucking & Brokerage Inc
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  Liquid Transport
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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 110 of 190



  LItco International, Inc
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  Vienna, OH 44473


  Lithotype Company, Inc.
  333 Pt. San Bruno Blvd
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  Little Ducks Organics
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  Litza, Joseph M.
  4527 N Mobile Ave
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  Live Electric, LLC
  68 Spring Ave
  Glen Ellyn, IL 60137


  Livingston International, Inc.
  670 Young st
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  LMZ Soluble Coffee Incorporated
  520 White Plains Road
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  Tarrytown, NY 10591


  Lock and Safe
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  Countryside, IL 60525


  Loders Croklaan USA
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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 111 of 190



  Loma Systems Inc.
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  Lori Dietz



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  Lundin, Patrick
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  M & R Graphics Inc.
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  Odell, IL 60460


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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 112 of 190



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  Macali Communications
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  Chicago, IL 60614


  MacCarb
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  Madison Appraisal, LLC
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  Maggio, Denise A.
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Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 113 of 190



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  Maldonado, Fabiola
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  Manildra Milling Corporation
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  Mansfield Oil Company
  1025 Airport Parkway SW
  Gainesville, GA 30501


  Maple Island Inc.
  2497 Seventh Avenue East
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  Mares, Perla E.
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  Stickney, IL 60402
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 114 of 190



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  Romeoville, IL 60446


  Marsh, Christopher M.
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  Suite 510
  Secaucus, NJ 07094


  Martin Engineering USA
  One Martin Place
  Neponset, IL 61345-9766


  Martin Gutierrez
  2541 Vermont St
  Blue Island, IL 60406


  Martin Vibration Systems
  990 Degurse Avenue
  Marine City, MI 48039


  Martin Whalen Office Solutions
  18630 S. 81st Ave
  Tinley Park, IL 60487
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 115 of 190



  Martin, Andre D.
  3609 Laurel Lane
  Hazel Crest, IL 60429


  Martinez-Angel, Clemente
  827 Grove Lane
  Bolingbrook, IL 60440


  Marubeni Specialty Chemicals Inc.
  8675 Hidden River Parkway
  Tampa, FL 33637


  Mary Jo Saul



  Masri, Lizette
  4725 W 20th Street
  Cicero, IL 60804


  Mass Polymers Corporation
  198 West High Street
  Somerville, NJ 08876


  Massimo Zanetti Beverage USA
  Clay Friske
  1370 Progress Road
  Suffolk, VA 23434


  Massimo Zanetti Beverage USA
  1370 Progress Road
  Suffolk, VA 23434


  Massimo Zanetti Beverage USA, Inc.
  c/o Kenneth Lancaster
  1370 Progress Road
  Suffolk, VA 23434


  Material Control Solutions
  P.O. Box 320038
  Franklin, WI 53132


  Matrix Packaging Machinery, LLC
  650 Dekora Woods Blvd
  Saukville, WI 53080
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 116 of 190



  Matrix Technology Consulting
  6523 West 95th Street
  Oak Lawn, IL 60453


  Matt Ziakis
  305 Robin Hill Dr
  Shorewood, IL 60404


  Matyus, Daniel
  15 S. Waiola Avenue
  Unit 6
  La Grange, IL 60525


  Mays Chemical
  5611 E. 71st Street
  Indianapolis, IN 46220


  McCauley Mechanical
  8787 S. 78th Avenue
  Bridgeview, IL 60455-1862


  McCauley Mechanical Construction, Inc.
  c/o Thomas V. McCauley
  Nisen & Elliott, LLC
  200 W. Adams St., Ste. 2500
  Chicago, IL 60606


  McCauley Mechanical Construction, Inc.
  c/o John J. D'Attomo
  Nisen & Elliott, LLC
  200 W. Adams St., Ste. 2500
  Chicago, IL 60606


  McCormick & Co.
  211 Schilling Circle
  Hunt Valley, MD 21031


  McDowell Trucking Inc.
  1247 Lakeside Drive
  Romeoville, IL 60446


  McGuire & Son Inc.
  12250 Shirley Lane
  Alsip, IL 60803
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 117 of 190



  McMaster-Carr Supply Co.
  P.O. Box 7690
  Chicago, IL 60680


  McNicholas, Timothy J.
  10541 S Avers Ave
  Chicago, IL 60655


  MDI Sales
  11205 Challenger Ave.
  Odessa, FL 33556


  MEBULBS Premium Quality Lighting
  P.O. Box 2123
  Fargo, ND 58107-2123


  Medexsupply Distributors, Inc.
  P.O. Box 1242
  Monsey, NY 10952


  Meelunie America, Inc.
  26105 Orchard Lake Road
  Suite 206
  Farmington Hills, MI 48334


  Meltzer, Purtill & Stelle LLC
  1515 E. Woodfield Road
  Second Floor
  Schaumburg, IL 60173


  Menasha Packaging Company, LLC
  7435 Santa Fe Drive
  Hodgkins, IL 60525


  Mendoza, Juan M.
  3234 N. Central Park Avenue
  2nd Floor
  Chicago, IL 60618


  Meno Landscaping
  2174 64th st.
  Fennville, MI 49408
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 118 of 190



  Mercer Foods, LLC
  1836 Lapham Drive
  Modesto, CA 95354


  Merisource
  PO Box 2088
  Addison, TX 75001


  Messina Group
  200 South Prospect
  Park Ridge, IL 60068


  METER Group, Inc.
  2365 NE Hopkins Court
  Pullman, WA 99163


  Meters & Controls CO, Inc
  P.O. Box 53247
  Cincinnati, OH 45253


  Metro Fence Company
  3617 West 83rd Street
  Chicago, IL 60652


  Metro Industrial Tire,Inc.
  4825 West 128th Place
  Alsip, IL 60803


  Metrohm
  P.O. Box 405562
  Atlanta, GA 30384-5562


  Metropolitan Fiber, Inc.
  5600 Proviso ste B
  Berkeley, IL 60163


  Mettler Toledo, Inc.
  22673 Network Place
  Chicago, IL 60673


  Meyer Steel Drum, Inc.
  3201 South Millard Street
  Chicago, IL 60623
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 119 of 190



  Meyers, Nicholas
  228 Brookston Drive
  Unit B1
  Schaumburg, IL 60193


  MG Embroidery
  3136 W. 111th Street
  Chicago, IL 60655


  MG Scientific, Incorporated
  8500 107th Street
  Pleasant Prairie, WI 53158


  MGI Leasing, Inc.
  2099 Southpark Court
  Dubuque, IA 52003


  MGP Ingredients, Inc.
  P.O. Box 310263
  Des Moines, IA 50331-0263


  Michael Foods Inc.
  301 Carlson Parkway
  Suite 400
  Minnetonka, MN 55305


  Michael Jones
  165 Hampshire Way Unit 25
  CANADA
  Milton, ON L9T 8M7


  Michael Wourms



  Michigan Sugar Beet Growers, Inc.
  P.O. Box 673089
  Detroit, MI 48267-3089


  Micro Motion Inc
  22737 Network Place
  Chicago, IL 60673


  Mid American Energy
  P.O. Box 8020
  Davenport, IA 52808
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 120 of 190



  Mid-America Packaging
  4800 Miami St.
  St. Louis, MO 63116


  Mid-America Steel Drum Co.
  8570 S. Chicago Road
  Oak Creek, WI 53154


  Mid-Atlantic Packaging & Specialtie
  436 Stump Road
  Montgomeryville, PA 18936


  Mid-Town Petroleum, Inc.
  9707 South 76th Avenue
  Bridgeview, IL 60455


  Midland Loan Services
  ,a PNC Real Estate Business
  6242 East 41st
  Tulsa, OK 74135


  Midwesco Filter Resources, Inc.
  P.O. Box 2075, 385 Battaile Dr
  Winchester, VA 22604


  Midwest Cargo Systems, Inc.
  9750 w 75th Street
  Hodgkins, IL 60525


  Midwest Dock Solutions Inc.
  2828 E. Spruce Dr.
  Crete, IL 60417


  Midwest Industrial Cleaners, LLC
  710 65th Avenue Unit H
  Schererville, IN 46375


  Midwest Maintenance Systems, Inc.
  P.O. Box 563
  Mokena, IL 60448


  Midwest Mechanical
  801 Parkview Blvd
  Lombard, IL 60148
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 121 of 190



  Midwest Salt
  1300 w Washington st
  West Chicago, IL 60185


  Midwest Solutions
  14350 27th Ave North
  Suite A
  Plymouth, MN 55447


  Midwestern Industries, Inc.
  915 Oberlin Road S.W.
  Massillon, OH 44648-0810


  Mike Bolt
  6908 Lorraine Dr.
  Countryside, IL 60525


  Milestone Trailer LEasing, LLC
  PO Box 205580
  Dallas, TX 75320-5580


  Milk Specialties Global
  7500 Flying Cloud Drive
  Suite 500
  Eden Prairie, MN 55344


  Millennium Recycling
  1715 E. 129th Avenue
  Crown Point, IN 46307


  Milling & Baking News
  4800 Main Street Suite 100
  Kansas City, MO 64112-2513


  Mimecast North America, Inc.
  203 Crescent Street
  Suite 303
  Waltham, MA 02453


  Miscellaneous
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 122 of 190



  Miss Jones Baking Company
  5900 Hollis St.
  Suite W
  Emeryville, CA 94608


  Mission Flavors & Fragrances
  25882 Wright Circle
  Foothill Ranch, CA 92610


  Mission Flavors & Fragrances, Inc.
  c/o Gregory J. Silverman
  Law Offices of G. Silverman, Inc.
  3827 Russett Court
  Northbrook, IL 60062


  Mitsubishi International
  Food Ingredients, Inc.
  411 Hackensack Avenue Ste 901
  Hackensack, NJ 07601


  MKD Electric, Inc.
  2590 Alft Lane
  Unit A
  Elgin, IL 60124


  MMJ Construction
  3242 N. Olcott
  Chicago, IL 60634


  Mobile Air, LLC
  1000 Valley Belt RD
  Brooklyn Heights, OH 44131


  MOCON, Inc
  7500 Mendelssohn Ave N
  Minneapolis, MN 55428


  Mondi Bags USA LLC
  P.O. Box 13362
  Newark, NJ 07072


  Monitor Technologies
  44W320 Keslinger Road
  Elburn, IL 60119-8048
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 123 of 190



  Monk Fruit Corp
  1226 American Way
  Libertyville, IL 60048


  Moose Trading, LLC
  12519 South Memorial Parkway
  Huntsville, AL 35803


  Moreno, Rafael G.
  6452 S. Rockwell Street
  #1
  Chicago, IL 60629


  Morris Anderson & Associates Ltd
  55 West Monroe st.
  Suite 2350
  Chicago, IL 60603


  Morris Packaging, LLC
  211 N. Williamsburg, Suite A
  Bloomington, IL 61704


  Moss, Roger
  1168 Whitney Street
  Burns Harbor, IN 46304


  Mother Jungle Herbs
  25831 Jefferson Ave
  Murrieta, CA 92562


  Mother Murphy's Lab Inc.
  300 Dougherty Street
  Greensboro, NC 27406


  Motion Industries, Inc.
  8620 Calumet Avenue
  Hammond, IN 46320


  MPOWER
  7731 W 98th St
  Hickory Hills, IL 60457


  Mr. Duct
  4699 Auvergne Ave, #9
  Lisle, IL 60532
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 124 of 190



  MSC Industrial Supply
  Sid Tool Co., Inc.
  75 Maxess Road
  Melville, NY 11747


  MSDSonline, Inc.
  222 Merchandise Mart Plaza
  Suite 1750
  Chicago, IL 60654


  Mueller & Co., LLP
  1707 N. Randall Rd
  Ste 200
  Elgin, IL 60123


  Mueller, Theresa A.
  4403 Home Avenue
  Stickney, IL 60402


  Mulcahy, Pauritsch
  Salvador & Co., Ltd.
  14300 Ravinia Ave. Suite 200
  Orland Park, IL 60462


  Mullarkey Associates
  Dept. #10245
  P.O. Box 87618
  Chicago, IL 60680-0618


  Multi-Color Corporation
  4053 Clough Woods Drive
  Batavia, OH 45103


  Munters Corporation
  79 Monroe Street
  Amesbury, MA 01913


  Murphy Packaging
  150 North Fairway Drive
  Suite 160
  Vernon Hills, IL 60061


  Murphy Rigging & Erecting
  Attn: Account Receivable
  701 24th Ave S.E.
  Minneapolis, MN 55414
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 125 of 190



  Mutual of Omaha
  Policyholder Services
  P.O. Box 2147
  Omaha, NE 68103-2147


  MVP Workforce, LLC
  1751 Lake Cook Road
  Suite 600
  Deerfield, IL 60015


  MVS,LLC
  53 West Jackson Blvd
  Suite 915
  Chicago, IL 60604


  MW Leasing
  P.O. Box 351
  Bradley, IL 60915


  MW Watermark LLC
  4660 136th Ave
  Holland, MI 49424


  N.E.W. Plastics Corp
  112 4th Street
  P.O. Box 480
  Luxemburg, WI 54217-0480


  N.S. Precision Lathe Inc.
  3518 Martens St.
  Franklin Park, IL 60131


  Nalco Water Pretreatment Solutions
  Network Place 24658
  Chicago, IL 60673


  Napco Steel, Inc
  1800 Arthur Drive
  West Chicago, IL 60185


  Nasco Fort Atkinson
  901 Janesville Ave
  Fort Atkinson, WI 53538-0901
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 126 of 190



  National Fire Safety Council
  Attn John Buckley, Chief
  1970 Plainfield Road
  Lagrange Hughlands, IL 60525-3709


  National Graphic Solutions
  2600 North Ballard Road
  Appleton, WI 54911


  National Measures
  7920 West 215th Street
  Lakeville, MN 55044


  National Pecan Shelling Operations
  P.O. Box 951647
  Dallas, TX 75395-1647


  National Sugar Marketing
  c/o Matthew T. DiCianni
  140 S. Dearborn, Ste. 600
  Chicago, IL 60603


  National Sugar Marketing LLC
  1951 S. Saturn Way
  Suite 100
  Boise, ID 83709


  National Sugar Marketing LLC
  700 Wilmington Island Road
  Savannah, GA 31410


  National Sugar Marketing, LLC
  100 Galleria Pkwy, Ste. 1400
  Atlanta, GA 30339


  National Sugar Marketing, LLC
  c/o Matthew T. DiCianni, Esq.
  Ancel Glink, P.C.
  140 S. Dearborn, St., 6th floor
  Chicago, IL 60603


  National Sugar Marketing, LLC
  c/o Thomas G. DiCianni
  Ancel Glink, P.C.
  140 S. Dearborn, St., 6th floor
  Chicago, IL 60603
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 127 of 190



  Nationwide Boiler Incorporated
  42400 Christy Street
  Fremont, CA 94538


  Nationwide Transporation Inc.
  P.O. Box 1772
  Bridgeview, IL 60455-1772


  Natural Products, Inc.
  2211 6th Ave.
  Grinnell, IA 50112


  Natural Sourcing International Grou
  17031 Ventura Blvd
  Encino, CA 91316


  Naturex AG
  375 Huyler Street
  South Hackensack, NJ 07606


  Navitas



  Nelson-Jameson, Inc.
  2400 E. 5th Street
  Marshfield, WI 54449


  Neogen Corporation
  25153 Network Place
  Chicago, IL 60673-1251


  New England Natural Bakers, Inc.
  74 Fairview Street East
  Greenfield, MA 01301


  New Pig Corporation
  One Pork Avenue
  Tipton, PA 16684-0304


  New Wave International Cargo
  6800 Santa Fe DR
  Hodgkins, IL 60525
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 128 of 190



  New York Blower Company
  Department 20-1004
  P.O. Box 5940
  Carol Stream, IL 60197-5940


  Newark
  P.O. Box 94151
  Palatine, IL 60094


  Newtown Foods USA
  601 Corporate Drive
  Langhorne, PA 19047


  Nexeo Solutions LLC
  5200 Blazer Parkway
  Dublin, OH 43017


  Nexira Inc
  15 Somerset Street
  Somerville, NJ 08876


  Nickelson Industrial Services
  8501 s Baltimore ave
  Chicago, IL 60617


  Nicole Devine



  Nicor Gas
  P.O. Box 632
  Aurora, IL 60507-0632


  Norben Company
  PO Box 766
  Willoughby, OH 44096


  Nordson EFD
  21076 Network Place
  Chicago, IL 60673


  Norman Equipment Company
  9850 S. Industrial Drive
  Bridgeview, IL 60455
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 129 of 190



  Nortech
  560 Windy Point Dr.
  Glendale Heights, IL 60139


  North American Corp
  2101 Claire Ct
  Glenview, IL 60025


  North Bay Trading Company
  13904 E. US Hwy 2
  P.O. Box 129
  Brule, WI 54820


  Northern Container
  4949 W. 122nd St
  Alsip, IL 60638-6616


  Northern Plant Services Ltd
  6470 Melton Road
  Portage, IN 46368


  Northern Safety Co., Inc.
  P.O. Box 4250
  Utica, NY 13504-4250


  Northland Laboratories
  1818 Skokie Boulevard
  Northbrook, IL 60062


  Northwest Pallet Supply
  3648 Morreim Drive
  Belvidere, IL 61008


  Northwestern Mutual
  P.O. Box 3009
  Milwaukee, WI 53201-3009


  Norwood Paper
  7001 W. 60th Street
  Chicago, IL 60638-3101


  Nousbo Co., Ltd.
  89,4-201, Seoho-ro
  Gwonseon-gu, Suwon-si
  Gyeondggi-do 16614
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 130 of 190



  Novaspect
  1124 Tower Road
  Schaumburg, IL 60173


  Novey Bag Company
  2275 E.Devon
  Elk Grove Village, IL 60007


  Novozymes North America Inc.
  P.O. Box 7247-7554
  Philadelphia, PA 19170


  NP Analytical Laboratories
  Lindsey Cholewa, 3S
  Checkerboard Square
  St. Louis, MO 63164


  NSF International
  Dept. Lockbox # 771380
  P.O. Box 77000
  Detroit, MI 48277-1380


  NTL Naigai Trans Line USA Inc.
  970 W 190th Street
  Suite 580
  Torrance, CA 90502


  Nu Comfort Supply Inc.
  500 Windy Point Drive
  Glendale Heights, IL 60139


  Nurture Inc
  Happy Family Brands
  139 Fulton Street Suite 907
  Manhattan, NY 11308


  Nutrasun Foods Ltd.
  P.O. Box 30059
  CANADA
  Regina, SK S4N 4N0


  O'Brien Rigging Company
  3334 So. 115th Street
  Omaha, NE 68144
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 131 of 190



  Oak Fire And Security Systems
  14007 South Bell Road #234
  Homer Glen, IL 60491


  Occupational Safety and Health Admi
  Chicago South Area Office
  8505 W. 183rd Street Suite C
  Tinley Park, IL 60487


  OCI Chemical Corporation
  P.O. Box 67000
  Detroit, MI 48267-2558


  OCI Chemical Corporation
  30 Hemlock Drive
  Congers, NY 10920-1400


  Office Depot
  75 Remittance Drive #2698
  Chicago, IL 60675-2698


  Oilseeds International, LTD.
  Miyu Nielsen
  8 Jackson Street
  San Francisco, CA 94111


  OK International Corp.
  73 Bartlett Street
  Marlborough, MA 01752


  OK KOSHER CERTIFICATION
  391 TROY AVE
  BROOKLYN, NY 11213


  Olam Americas, Inc.
  13400 Bishops Lane, Suite 50
  Brookfield, WI 53005


  Olam U.S.



  Old Dominion Freight Line, Inc
  14933 Collection Center Dr.
  Chicago, IL 60693-4933
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 132 of 190



  Old Second National Bank
  37 S. River Street
  Aurora, IL 60506


  Oleon Americas
  200 Bryce Circle
  Simpsonville, SC 29681


  Olsson Roofing Company, Inc.
  740 S Lake St
  PO Box 1450
  Aurora, IL 60507


  Olympic Forest Products
  12429 Cedar Road
  Cleveland, OH 44106


  Omega Engineering, Inc.
  P.O. Box 4047
  Stamford, CT 06907-0047


  Omni Technologies
  779 RUDOLPH WAY
  GREENDALE, IN 47025


  Onin Group Midwest, LLC
  1 Perimeter Park S
  Suite 450N
  Birmingham, AL 35243


  Online Labels, Inc.
  2021 E. Lake Mary Blvd.
  Sanford, FL 32773


  ONSITE Pressure Washing & Cleaning
  P.O Box 59006
  Schaumburg, IL 60159


  Onward Technologies
  5600 N River Road
  Suite 425
  Rosemont, IL 60018
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 133 of 190



  Open Systems Inc.
  4301 Dean lakes Blvd
  Shakopee, MN 55379


  Organic Certifiers
  6500 Casitas Pass Road
  Ventura, CA 93001


  Orion Industries
  5170 N. Northwest Hwy
  Chicago, IL 60630


  Orthodox Union
  Eleven Broadway
  New York, NY 10004


  Orthos Liquid Systems
  P.O. Box 1970
  Bluffton, SC 29910


  Osage Food Products
  120 W. Main St.
  Suite 200
  Washington, MO 63090


  OSF Flavors Inc.
  40 Baker Hollow Rd.
  Windsor, CT 06095


  OSI-Raleigh
  140 Raleigh Street
  Holly Springs, NC 27540


  Ottens Flavors
  P.O. Box 822901
  Philadelphia, PA 19182-2901


  Outlook Group Corporation
  1180 American Drive
  Neenah, WI 54957-0748


  Overby, Nicholas
  7251 Randolph Street
  Forest Park, IL 60130
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 134 of 190



  Overwraps Flexibles
  3950 La Reunion Pkwy
  Dallas, TX 75212


  P&G Food Industries Corp
  240 Crandon Blvd
  Suite 167-B
  Key Biscyane, FL 33149


  P. Steinert, Inc.
  4433 N. Lamon Ave.
  Chicago, IL 60630


  Pacific Telemanagement Service
  379 Diablo Road Suite 212
  Danville, CA 94526


  Paciugo Supply Co LP
  1215 Viceroy Drive
  Dallas, TX 75247


  Pack Plus Converting Corporation
  5418 Schaefer Avenue
  Chino, CA 91710


  Packaging Corporation of America
  5445 W 73rd Street
  Chicago, IL 60638


  Packaging Machinery Sales
  P.O. Box 105
  Mason, OH 45040


  Packaging Specialties Incorporated
  W130 N10751 Washington Drive
  Germantown, WI 53022


  Packaging Systems Of Indiana
  3532 Crouch Street
  Lafayette, IN 47905


  Paintball Events Unlimited
  454 Montague Drive
  Portage, MI 49024
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 135 of 190



  Paintball X3 Magazine
  C/O Quality Bookkeeping, Inc.
  9422 Olde Town Court
  Manassas, VA 20110


  PAL-IL
  847 South Randall Road #166
  Elgin, IL 60123-3002


  Palm Electric Motor Sales & Service
  2918 West Grand Avenue
  Chicago, IL 60622


  Palsgaard Incorporated
  101 Gibraltar Drive
  Suite 2B
  Morris Plains, NJ 07950


  Panatrol Automation & Controls
  16 W 281 South Frontage Road
  Burr Ridge, IL 60527


  Paper Tubes and Sales
  1550 Hinton Street
  Dallas, TX 75235


  Paragon Films,Inc.
  3500 W Tacoma St
  Broken Arrow, OK 74012


  Paragon Manufacturing, Inc.
  2001 North 15th Avenue
  Melrose Park, IL 60160


  Paramont-EO, Inc.
  516 Twin Rail Rd.
  Minooka, IL 60447


  Paramount Staffing, Inc.
  3100 Dundee Road
  Northbrook, IL 60062


  Parkway Elevators
  499 Kent Road
  Riverside, IL 60546
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 136 of 190



  Parts Town, LLC
  27787 Network Place
  Chicago, IL 60673-1277


  Patel, Rohitkumar
  401 Muriel Court
  Wheeling, IL 60090


  Patrick Gaughan
  306 Cottage Hill Ave.
  Elmhurst, IL 60126


  Patrick Gaughan Declaration of Trust
  dated July 15, 1996
  c/o Arro Corporation
  7440 Sante Fe Drive
  Hodgkins, IL 60525


  Patrick Lundin



  Patterson, James
  1825 Arbor Lane
  217
  Crest Hill, IL 60403


  Paul Ciesiun
  2452 Saddle Ridge Drive
  Joliet, IL 60432


  Paulson Oil Company
  P.O. Box 903
  Chesterton, IN 46304


  Paypal
  2211 North First Street
  San Jose, CA 95131


  PC Mall
  File 55327
  Los Angeles, CA 90074-5327
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 137 of 190



  PCS Industries
  7979 W. 183rd Street
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  Pekelnicky, Robert M.
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  Palos Hills, IL 60465


  Penford Food Ingredients
  39824 Treasury Center
  Chicago, IL 60694-9800


  Penford Products
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  Cedar Rapids, IA 52406


  Peoples Gas
  130 East Randolph Drive
  Chicago, IL 60601


  Perez, Adriana
  2417 S. Springfield Avenue
  Chicago, IL 60623


  Perfex
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  Poland, NY 13431


  Perla Mares



  Personnel Concepts
  3200 E. Guasti Road
  Suite 300
  Ontario, CA 91761


  Pest Management Supply
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  Chicago, IL 60616


  Peter J. Loeb
  Painting & Decorating
  356 Pheasant Chase
  Bolingbrook, IL 60440
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 138 of 190



  Phoenix Closures
  1899 High Grove Lane
  Naperville, IL 60540-3996


  Piab USA, Inc.
  65 Sharp Street
  Hingham, MA 02043


  Pierce Food Service Equipment
  9685 West 55th Street
  Countryside, IL 60525


  Pillsbury c/o J.M. Smucker LLC
  Co-Pack Acct.
  P.O. Box 280
  Orrville, OH 44667


  Pinnacle Foods Group
  399 Jefferson Road
  Parsippany, NJ 07054


  Pinnacle Foods Group LLC
  121 Woodcrest Road
  Cherry Hill, NJ 08003


  Pinnacle Foods Inc.
  c/o John F. Kroeger
  Pinnacle Foods, Inc.
  399 Jefferson Dr.
  Parsippany, NJ 07054


  Pitney Bowes Purchase Power
  P.O. Box 371874
  Pittsburgh, PA 15250-7874


  Pitney Bowes, Inc.
  2225 American Drive
  Neenah, WI 54956-1005


  Plastic Industries, Inc
  1 Tara Blvd
  Suite 303
  Nashua, NH 03062
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 139 of 190



  Plastics Color
  14201 Paxton Ave
  Calumet City, IL 60409


  Plastipak Packaging, Inc.
  Mitch Arnold
  3310 W. Springfield Avenue
  Champaign, IL 61822


  PLC Hardware
  11706 Garrison Forest Rd
  Owings Mills, MD 21117


  Pleasantview Fire Prot. District
  1970 Plainfield Rd.
  LaGrange Highlands, IL 60525


  PLM Trailer Leasing
  100 Paragon Drive
  Montvale, NJ 07645


  PM&E Partners, LLC
  143 s Randall RD #38
  Batavia, IL 60510


  Pneumatic Tank Services
  34 Commerce Dr
  Park Hills, MO 63601


  Powder Process-Solutions
  1620 lake Drive West
  Chanhassen, MN 55317


  Power Distribution
  P.O. Box 262591
  Tampa, FL 33615


  Power Mechanical, Inc.
  4811 Commerce Drive
  Newport News, VA 23607


  PPi Technologies Group
  1712Northgate Blvd.
  Sarasota, FL 34234
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 140 of 190



  PQ Corporation
  P.O. Box 90412
  Chicago, IL 60696-0412


  PQ Corporation
  111 Ingalls Avenue
  Joliet, IL 60435


  PQ Corporation
  1201 W. Front Street
  Chester, PA 19013


  PQ Corporation
  P.O. Box 669
  7th Street & Missouri Ave.
  Jeffersonville, IN 47131-0669


  Prairie AquaTech, LLC
  705 32nd ave S.
  Brookings, SD 57006


  Prairie Farms Dairy, Inc.
  247 Research Parkway
  Davenport, IA 52806


  Prater Industries
  2 Sammons Court
  Bolingbrook, IL 60440


  Praxair, Inc.
  7400 S. Central Ave
  Bedford Park, IL 60638


  Prayon, Inc.
  P.O. Box 1473
  Augusta, GA 30903


  Precision Mechanical
  9915 Pacific Ave
  Franklin Park, IL 60131


  Preferred Communication Systems
  18521 Spring Creek Drive
  Unit A
  Tinley Park, IL 60477
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 141 of 190



  Preferred Fleet Service, Inc.
  2626 East 139th Street
  Burnham, IL 60633


  Premier Tech, Inc.
  1881 West North Temple
  Salt Lake City, UT 84116


  Premium Ingredients
  285 E. Fullerton Avenue
  Carol Stream, IL 60188


  Pressed Paperboard Technologies, LL
  30400 Telegraph Rd. #386
  Bingham Farms, MI 48025


  Presto Products Company
  670 North Perkins Street
  Appleton, WI 54914


  Prime Inc.
  14433 Collections Center Drive
  Chicago, IL 60693


  Prinova USA
  285 E. Fullerton Avenue
  Carol Stream, IL 60188


  Printpack Inc.
  2800 Overlook Pkwy
  Atlanta, GA 30339


  Pro 4 Doors, Inc.
  740 West 138th Street
  Riverdale, IL 60824-1665


  Process and Control Systems
  5836 West 117th Place
  Alsip, IL 60803


  Processpro Software
  3290 33Rd Street South
  Saint Cloud, MN 56301
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 142 of 190



  Procon Pacific LLC
  436 Eisenhower Lane North
  Lombard, IL 60148


  Producers Chemical Company
  1960 Bucktail Lane
  Sugar Grove, IL 60554


  Product43 DBA Crisp Sensation NA
  1033 South Boulevard
  Suite 243
  Oak Park, IL 60302


  Production Fabricating & Stamping
  3311 Butler Street
  So. Chicago Heights, IL 60411


  Prolamina
  132 North Elm Street
  Westfield, MA 10186


  Proliant Dairy, Inc.
  2425 Se Oak Tree Court
  Ankeny, IA 50021


  Promised Land Pro. LLC
  7311 Kavanaugh Rd.
  Crestwood, KY 40014


  Pronto Staffing Services
  10526 S. Ewing Avenue
  Chicago, IL 60617


  Propackage Inc.
  4040 West Ogden Ave
  Chicago, IL 60623


  Proshred Security
  7700 Graphics Dr.
  Tinley Park, IL 60477


  Protective Industrial Polymers, Inc
  1684 Quincy Ave
  Suite 200
  Naperville, IL 60540
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 143 of 190



  Provancal Brothers, Inc.
  14404 S. Western Ave
  Posen, IL 60469


  Proven Business Systems LLC
  1310 Madrid Street
  Suite 101
  Marshall, MN 56258


  Proven Business Systems, LLC
  18450 Crossing Dr
  Suite D
  Tinley Park, IL 60487


  Proven Partners Manufacturing, LLC
  1111 Bowes Road
  Elgin, IL 60123


  Prudential
  P.O. Box 856138
  Louisville, KY 40285


  PTJ Industrial
  P.O. Box 17900
  Reno, NV 89511


  Purac America, Inc.
  1902 Paysphere Circle
  Chicago, IL 60674


  Pure Earth Trading, LLC
  8534 Commerce Ave
  Suite B
  San Diego, CA 92121


  Pure Ground Ingredients
  2500 Arrowhead Drive
  Suite 1
  Carson City, NV 89706


  PureLine Solutions
  1241 N, Ellis Street
  Bensenville, IL 60106
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 144 of 190



  PURIS
  105 S Maple St.
  Turtle Lake, WI 54889


  PURIS Protein, LLC
  811 Glenwood Ave
  Suite 230
  Minneapolis, MN 55405


  QAI, Inc.
  Dept. Lockbox #771380
  P.O. Box 77000
  Detroit, MI 48277-1380


  Qingdao Yuanrun Chemical Co., LTD.
  No. 549 Renmin Road
  Quingdao
  Shandong 00026-6400


  Quaker Oats
  555 W. Monroe St.
  Chicago, IL 60661


  Quaker Oats AJ
  555 W. Monroe St.
  Chicago, IL 60661


  QualiTech
  318 Lake Hazeltine Drive
  Chaska, MN 55318


  Quality Air Solutions
  14560 W 99th st
  Lenexa, KS 66215


  Quality Backflow Testing, Inc.
  P.O. Box 175
  Western Springs, IL 60558


  Quality Ingredients Corporation
  14300 Rosemount Drive
  Burnsville, MN 55306
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 145 of 190



  Quench
  P.O.Box 781393
  Philadelphia, PA 19178-1393


  Quimex Inc.
  P.O. Box 1276
  Bedford Park, IL 60499-1276


  Quincy Recycle
  526 South 6th St
  Quincy, IL 62301


  Quincy Recycle Paper Inc. `
  Kelsey Ley
  526 S. 6th St.
  Quincy, IL 62301


  Quinto, Gonzalo
  6040 S. Mozart
  Chicago, IL 60629


  R&J CNC Works, Inc.
  10134 Pacific Ave.
  Franklin Park, IL 60131


  R&K Logistics
  747 Chase Ave
  Elk Grove Village, IL 60007


  R+L Truckload Service
  Bank of America Lockbox Serv
  Lockbox 74008195
  Chicago, IL 60674-8195


  R-CAP Process Equipment, Inc
  318 W. Northwest Hywy
  Barrington, IL 60010


  R.A Jones
  2701 Crescent Springs Road
  Covington, KE 41017


  R.Patel
  401 Muriel Court
  Wheeling, IL 60090
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 146 of 190



  R.R. Floody Company, Inc.
  5065 27th Avenue
  Rockford, IL 61109


  R.S. Quality Products
  P.O. Box 90130
  1115 North Godfrey Street
  Allentown, PA 18109


  R3 Environmental Management
  1050 East Chicago Street
  Elgin, IL 60120


  Rabin Worldwide
  21 Locust Avenue Suite 2A
  Mill Valley, CA 94941


  Radiant Global Logistics
  800 N. Thomas Drive
  Bensenville, IL 60106


  Radwell International, Inc.
  600 N Forsythe Street
  Franklin, IN 46131


  Railworks Track Services, Inc.
  512 Twin Rail Drive
  Suite 400
  Minooka, IL 60447


  Rainbow Electric, Co.
  2910 Birch Street
  Franklin Park, IL 60131


  Ralph Cruz
  618 S. Linden
  Elmhurst, IL 60126


  Ramirez, Ignacio
  5828 W. Eddy Street
  Chicago, IL 60634


  Randag & Associates, Inc.
  187 Lawndale Avenue
  Elmhurst, IL 60126
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 147 of 190



  Rauch Filta-Tec Corporation
  305 Lime Creek Circle
  Chelsea, AL 35043


  Ray Sagan & Sons Inc.
  401 Bonnie Lane
  Elk Grove Village, IL 60007


  Raymond Leasing Corporation
  Accounts Receivable
  PO Box 301590
  Dallas, TX 75303-1590


  Raymond Leasing Corporation
  Lien Solutions
  P.O. Box 29071
  Glendale, IL 91209


  Reagents
  P.O. Box 240746
  Charlotte, NC 28224


  ReCeil It International
  2643 Grand Ave.
  Bellmore, NY 11710


  Red Arrow Products
  633 S. 20th Street
  Manitowoc, WI 54220


  Redwood Multimodal
  1765 N Elston
  Ste 216
  Chicago, IL 60642


  Ref Leasing Co.
  245 E North Ave
  Carol Stream, IL 60188


  Regal Packaging Services, Inc.
  22W704 Ahlstrand
  Glen Ellyn, IL 60137
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 148 of 190



  Regional Truck Equipment
  4626 W. 120th Street
  Alsip, IL 60803


  Reid, Patricia
  1843 Gunderson
  Berwyn, IL 60402


  RelaDyne
  4651 Solutions Drive
  Chicago, IL 60677


  Reliable Door Systems Inc.
  N173 W21140 Northwest Passage
  P.O. Box 278
  Jackson, WI 53037


  Reliable Fire Equipment Co.
  12845 S. Cicero Avenue
  Alsip, IL 60658


  Renner & Renner, Inc.
  4245 N. Elston Ave
  Chicago, IL 60618


  Republic Services
  13701 South Kostner
  Crestwood, IL 60445-3900


  Resource Consulting, Inc.
  115 Ford Street
  PO Box 123
  Geneva, IL 60134


  ResourceMFG
  P.O. Box 802015
  Chicago, IL 60680-2015


  Retina of Illinois SC
  475 Brown Blvd
  Suite 109
  Bourbonnais, IL 60914-2325
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 149 of 190



  Revere Electric Supply
  8807 187th Street
  Mokena, IL 60448


  Revolution Foods
  8393 Capwell Drive
  Suite 200
  Oakland, CA 94621


  Rexam
  800 Corporate Grove Drive
  Buffalo Grove, IL 60089


  Rey, Melanie L.
  5525 W. Wrightwood
  2R
  Chicago, IL 60639


  Reynaga, Julian S.
  8441 S. Octavia Avenue
  Bridgeview, IL 60455


  Rhodia Inc.
  CN 1120
  Cranbury, NJ 08512


  RIBUS, Inc.
  Attn: Michelle Kyle
  200 S. Hanley, Suite 1108
  St. Louis, MO 63105


  Richard Gagnon
  444/67
  Tambon Nong Jom
  Amphoe San Sai 50210


  Richmark Label
  1110 East Pine Street
  Seattle, WA 98122


  Richmond Baking Company
  520 N. 6th St.
  Richmond, IN 47374
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 150 of 190



  Rightsize Facility Performance
  4800 W. Roosevelt Road
  Fourth Floor
  Chicago, IL 60644


  Rios, Gustavo
  8840 South Houston
  Chicago, IL 60617


  Risk Management Specialists
  10742 Voss Drive
  Orland Park, IL 60467-8415


  Ritter Technology LLC
  9970 W. 190th St.
  Mokena, IL 60448-5600


  River Forest Country Club
  P.O. Box 557
  Elmhurst, IL 60126


  Rivland Partnership
  Lockbox Department
  P.O. Box 14335
  St. Louis, MO 63150


  Rivo USA Co., Ltd.
  20501 Ventura Blvd.
  Ste. 252
  Woodland Hills, CA 91364


  Rivo USA Co., Ltd.
  c/o W. Clifton Holmes
  The Holmes Law Group, Ltd.
  350 N. Orleans St., Ste. 9000N
  Chicago, IL 60654


  Rivo USA Ltd
  20501 Ventura Blvd
  Woodland Hills, CA 91367


  rja/a, llc
  1016 West Madison Street
  Chicago, IL 60607
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 151 of 190



  RKS Advisory Group, LLC
  5405 Londonderry Rd
  Edina, MN 55436


  RLC Funding, A Division of Navitas Lease
  111 Executive Center Drive
  Ste 102
  Columbia, SC 29210


  RLC Funding, A Division of Navitas Lease
  Corporation Service Company
  801 Adlai Stevenson Dr.
  Springfield, IL 62703


  RLC Funding, A Division of Navitas Lease
  CT Lien Solutions
  P.O. Box 29071
  Glendale, CA 91209


  RMZ Packaging Machinery Inc.
  52 Northshore Drive
  LaPorte, IN 46350


  Roadrunner Transportation
  P.O. Box 809066
  Chicago, IL 60680


  Robert Half
  P.O. Box 743295
  Los Angeles, CA 90074-3295


  Robert Pekelnicky
  7925 W. 101st Steet
  Palos Hills, IL 60465


  Robey Packaging Equiptment and Serv
  3236 Rennie Smith Dr
  So. Chicago Heights, IL 60617


  Rochester Midland Corporation
  P.O. Box 64462
  Rochester, NY 14624-6862
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 152 of 190



  Rodriguez, Cristina
  4444 W. Rice Street
  Chicago, IL 60651


  Rodriguez, Jose
  217 153rd Street
  Calumet City, IL 60409


  Rodriguez, Robert
  1814 S. 49th Avenue
  Apt. #1
  Cicero, IL 60804


  Rogers Pump Sales & Service
  16 South Washington Avenue
  Batavia, IL 60510


  Roha USA LLC
  5015 Manchester Ave.
  St. Louis, MO 63110


  Roman Decorating
  824 State Street
  Calumet City, IL 60409


  Romer Labs, Inc.
  PO Box 66971
  St. Louis, MO 63166-6971


  Ronald Hopkins



  Ronco Industrial Supply Co.
  700 Frontier Way
  Bensenville, IL 60106


  Ronnie Bayless
  4113 North Forbes Road
  Plant City, FL 33565


  Root Brothers Mfg. & Supply Co.
  10301-25 S. Michigan Avenue
  Chicago, IL 60628
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 153 of 190



  Roquette America, Inc.
  1417 Exchange Street
  Keokuk, IA 52632


  Roquette America, Inc.
  1417 Exchange Street
  P.O. Box 6647
  Keokuk, IA 52632-6647


  Rosdev Portfolio IL LLC
  418 Clifton Ave
  Suite 200
  Lakewood, NJ 08701


  ROSDEV Portfolio IL LLC
  c/o Kenneth Goldin
  Goldin, Hill & Associates, PC
  9100 Plainfield Road
  Brookfield, IL 60513


  ROSDEV Portfolio IL, LLC
  7077 Ave Du Parc, Suite 600
  CANADA
  Montreal, QC H3N 1X7


  Rosedale Products, Inc.
  P.O Box 1085
  Ann Arbor, MI 48106


  Rosemount, Inc.
  8200 Market Boulevard
  Chanhassen, MN 55317


  Rotating Equipment Specialists LLC
  421 Wrightwood Ave
  Elmhurst, IL 60126


  Roth Staffing Companies, L.P.
  P.O. Box 60003
  Anaheim, CA 92812


  Rovema North America, Inc.
  4366 Shackleford Road
  Suite a
  Norcross, GA 30093
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 154 of 190



  Rowell Chemical Corporation
  15 Salt Creek Lane
  Suite 205
  Hinsdale, IL 60521


  RPMI Packaging Inc.
  P.O. Box 105
  Mason, OH 45040


  RR Donnelley
  300 Lang Blvd
  Grand Island, NY 14072


  Ruane, Kathryn
  17747 Willard Lane
  Lockport, IL 60441


  Rucker's Makin' Batch Candies
  777 Rucker & State St.
  Bridgeport, IL 62417


  Rudolph Research Analytical Corp
  55 Newburgh Rd.
  Hackettstown, NJ 07840


  Rueda, Elizabeth
  5359 S Homan
  Chicago, IL 60632


  Ruiz, Heraclio
  14716 S. Harper Avenue
  Dolton, IL 60419


  Rush Truck Leasing
  Chicago Idealease
  4655 S. Central Ave.
  Chicago, IL 60638-1547


  Russell Finex, Inc.
  PO Box 69
  Pineville, NC 28134


  Russo, David C.
  216 E. Lyndale Avenue
  Northlake, IL 60164
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 155 of 190



  Rutke Signs
  One Westbrook Corp. Center
  Suite 300
  Westchester, IL 60154


  Ryan Herco Products Corp.
  Lockbox 842318
  PO Box 842318
  Boston, MA 02284-2318


  Saati Americas
  201 Fairview St. Extension
  Fauntain Inn, SC 29644


  Saia
  PO Box A Station 1
  Houma, LA 70363


  Salamanca, Maria G.
  2847 S Keeler Ave
  Chicago, IL 60623


  Salina Vortex Corporation
  1725 Vortex Ave
  Salina, KS 67401


  Sally Ladwig
  4941 Wick Drive
  Oak Lawn, IL 60453


  Sam Solution, Inc.
  5120 S Lawndale Avenue
  Summit, IL 60501


  Sam's Club
  P.O. Box 9001907
  Louisville, KY 40290-1907


  Santa Fe Industrial Investors
  One Oakbrook Terrace STE400
  Oakbrook Terrace, IL 60181
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 156 of 190



  Santa Fe Industrial Investors, LLC
  c/o J. Raymond Frazier
  UBS Realty Investors LLC
  12001 North Central Expressway #650
  Dallas, TX 75243


  Santa Fe Industrial Investors, LLC
  c/o Richard Zalateris
  UBS Realty Investors LLC
  12002 North Central Expressway #650
  Dallas, TX 75243


  Santa Fe Property LLC
  7440 Santa Fe Drive
  Hodgkins, IL 60525


  Sargeant Realty Advisors, Inc.
  7720 W. Touhy Avenue
  Suite A
  Chicago, IL 60631-4064


  Sasol North America, Inc.
  12120 Wickchester Lane
  Houston, TX 77079


  SBA, Office of the District Attorney
  Illinois District Office
  500 W. Madison St., Suite 1150
  Chicago, IL 60661


  Scales, Alphonso
  3532 S. Prairie Avenue
  Chicago, IL 60653


  Schenck Process, LLC
  36804 Treasury Center
  Chicago, IL 60694-6800


  Schenker Inc.
  1333 South Mt Prospect Rd.
  Des Plaines, IL 60018


  SCL Americas, Inc.
  6900 College Blvd.
  Suite 430
  Overland Park, KS 66211
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 157 of 190



  Screener King
  P.O. Box 216
  Rancho Mirage, CA 92270


  SCS Global Services
  2000 Powell Street
  Ste. 600
  Emeryville, CA 94608


  Sealing Industries
  615 Industrial Drive-Unit A
  Cary, IL 60013-3342


  Searles Valley Minerals
  9401 Indian Creek Parkway
  Bldg 40 - Suite 1000
  Overland Park, KS 66210


  Secretary Of State
  Limited Liability Division
  Room 351, Howlett Building
  Springfield, IL 62756


  Secretary Of State
  Vehicle Services Department
  501 S. 2nd Street Room 591
  Springfield, IL 62756-7200


  Seedburo Equipment Company
  2293 S. Mt Prospect Road
  Des Plaines, IL 60018


  Sefar Inc.
  4221 N.E. 34th Street
  Kansas City, MO 64117


  Select Harves USA, Inc.
  c/o Michael G. Dini
  Triebach & Frampton, APC
  300 N. Palm St., P.O. Box 709
  Turlock, CA 95381


  Select Harvest
  14827 W. Harding Road
  Turlock, CA 95380
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 158 of 190



  Select Metals
  P.O. Box 1245
  Elmhust, IL 60126


  Sensabaugh, Dustin
  7666 Sprucewood Avenue
  Woodridge, IL 60517


  Sensient Colors LLC
  2515 N. Jefferson Ave
  Saint Louis, MO 63106-1939


  Sensient Flavors, Inc.
  5600 West Raymond Street
  Indianapolis, IN 46241


  Sensory Effects Powder Systems
  136 Fox Run Drive
  Defiance, OH 43512


  Sentinel Fire Protection Co.
  1688 West Quincy Avenue
  Naperville, IL 60540-3944


  Sentinel Technologies, Inc.
  P.O. Box 85080
  Chicago, IL 60680-0851


  Sergio Flores



  Serim Research Group
  3506 Reedy Drive
  Elkhart, IN 46514


  Service Pallet LLC
  500 Overland Drive
  North Aurora, IL 60542


  Servo Solutions
  239 W. 61 Street
  Westmont, IL 60559
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 159 of 190



  Sethness Products
  PO Box 92331
  Chicago, IL 60675-2331


  Seton Identification
  P.O. Box 819
  20 Thompson Rd.
  Branford, CT 06405-0819


  SGS North America Inc.
  PO BOX 2502
  Carol Stream, IL 60132-2502


  Shamrock Packaging Group
  1101 Perimeter Drive
  Suite 850
  Schaumburg, IL 60173


  Shoreline Fruit, LLC
  Dept. for Lockbox 9520
  P.O. Box 30516
  Lansing, MI 48909-8016


  Shorr Packaging
  800 N. Commerce Street
  Aurora, IL 60504


  ShuttleWagon
  8701 Elmwood Ave
  Suite 300
  Kansas City, MO 64132


  Siemer Milling Company
  P.O. Box 670
  Teutopolis, IL 62467


  Siftex Equipment Company
  52D Connecticut Avenue
  South Windsor, CT 06074-3484


  Sigma Equipment
  3001 Maxx Road
  Evansville, IN 47711
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 160 of 190



  Sigma Equipment Inc.
  Sigma Equipment Inc.
  3001 Maxx Road
  Evansville, IN 47711


  Sigma Supply of North America, Inc.
  P.O. Box 20980
  824 Mid America Blvd.
  Hot Springs, AR 71903-0980


  Signature Bank
  9701 W Higgins
  Suite 500
  Rosemont, IL 60018


  Silesia Flavors, Inc.
  5250 Prairie Stone Parkway
  Hoffman Estates, IL 60192


  Silliker Laboratories Group
  1304 Halsted Street
  Chicago Heights, IL 60411


  Silva International Inc.
  P.O. Box 66264
  Chicago, IL 60666


  Silva, Joel
  2322 S. Euclid Avenue
  BSMT
  Berwyn, IL 60402


  Silver Fern Chemical
  2226 Queen Anne Ave. N
  #C
  Seattle, WA 98109-2372


  Silver Springs Recruiting
  1907 E. Roosevelt Rd.
  Wheaton, IL 60187


  Silverson Machines, Inc.
  355 Chestnut St.
  PO Box 589
  East Longmeadow, MA 01028
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 161 of 190



  Simple Mills
  444 N Wells St.
  Suite 204
  Chicago, IL 60654


  Simple Mills Inc
  P.O. Box 716
  Bedford Park, IL 60499-0716


  Simplex Grinnell
  District # 311
  91 N. Mitchell Court
  Addison, IL 60101


  Sims, Priest
  541 E. 89th Place
  Chicago, IL 60619


  Singh, Baljit
  519 Hillcrest Drive
  Bolingbrook, IL 60440


  SK Sales
  16439 Cypress Circle
  Lockport, IL 60441


  Skidmore Sales&Dist. Co. Inc.
  9889 Cincinnati-Dayton Road
  West Chester, OH 45069-3826


  Skyline Sales
  150 Houston Street
  Suite 306
  Batavia, IL 60510


  Smirk's Ltd.
  17601 US Hwy 34
  Fort Morgan, CO 80701


  Smith Corona
  3830 Kelley Avenue
  Cleveland, OH 44114
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 162 of 190



  SNL Enterprises USA, Inc.
  P.O. Box 568
  Prospect, KY 40059


  Solae LLC
  4300 Duncan Ave
  St. Louis, MO 63110


  Solid Lift Parts Inc
  CANADA
  Vancouver, BC V6Z0C2


  Solutions Direct
  777 108th Ave NE
  Suite 1750
  Bellevue, WA 98004


  Solutions Mechanical
  71 Kendall Point Drive
  Oswego, IL 60543


  Solvay Chemicals, Inc.
  P.O. Box 27328
  Houston, TX 77227


  Solvent Systems International
  70 King Street
  Elk Grove Village, IL 60007


  SomerCor 504 Inc.
  601 S. LaSalle
  Suite 510
  Chicago, IL 60605


  Somerset Business Partners
  7300 Alondra Blvd #200
  Paramount, CA 90723


  Sonamatic Auto Center
  9665 West 55th Street
  Countryside, IL 60525


  Sonitek Corp.
  84 Research Drive
  Milford, CT 06460
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 163 of 190



  Sonoco Products Company
  31 Industrial Park Road
  Wapato, WA 98951


  SOS Technologies
  5080 N. Elston Avenue
  Chicago, IL 60630


  SourceHOV Tax
  P.O. Box 142589
  Drawer #9029
  Irving, TX 75014-2589


  South Side Control Supply
  488 N. Milwaukee Avw
  Chicago, IL 60654-7923


  Southern California Edison
  P.O. Box 600
  Rosemead, CA 91771-0001


  Southern Graphic Systems
  24453 Network Place
  Chicago, IL 60673-1244


  Southern Polymers, Inc.
  6151 Powers Ferry Road, N.W.
  Atlanta, GA 30339


  Southwest Town Mechanical
  10450 W. 163rd Place
  Orland Park, IL 60467


  Southwest Town Mechanical
  10450 W 163rd Place
  Orland Park, IL 60467


  SpaceKraft
  4901 W. 79th St.
  Indianapolis, IN 46112


  Spagnolo Enterprises, Ltd.
  322 S. Vine
  Park Ridge, IL 60068
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 164 of 190



  Special Materials Company
  70 W. 40th Street
  2nd Floor
  New York, NY 10018


  Specialty Products & Technology
  9531 West 78th Street
  Suite 320
  Eden Prairie, MN 55344


  Spectrum Label Corporation
  30803 San Clemente Street
  Hayward, CA 94544


  Spee-Dee
  1360 Grandview Parkway
  Sturtevant, WI 53177


  Speedway LLC
  P.O. Box 740587
  Cincinnati, OH 45274-0587


  Spice Chain Corp.
  9 Elkins Road
  East Brunswick, NJ 08816


  Spraying Systems Co.
  PO Box 95564
  Chicago, IL 60694-5564


  Sprint
  Po Box 219554
  Kansas City, MO 64121-9554


  Sprint Electrical Service Inc.
  1575 Jarvis Ave
  Elk Grove Village, IL 60007


  Sprint Store by Air 1 Wireless
  1714 Indianapolis Blvd
  Whiting, IN 46394


  SPX
  P.O. Box 277886
  Atlanta, GA 30384
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 165 of 190



  SQF Institute
  2345 Crystal Drive
  Suite800
  Arlington,, VA 22202


  St. Charles Trading
  650 North Raddant Road
  Batavia, IL 60510


  St. Charles Trading, Inc.
  1400 Madeline Lane
  Elgin, IL 60124


  St. Charles Trading, Inc.
  c/o Michael T. Navigato
  Bochte, Kuzniar & Navigato, P.C.
  2580 Foxfield Rd., Ste. 200
  St. Charles, IL 60174


  Stacy Majka
  5115 Wilshire Blvd. #507
  Los Angeles, CA 90036


  Stamar Packaging
  1600 Fleetwood Drive
  Elgin, IL 60123


  Stamar Packaging Inc.
  c/o Michael D. Weis
  P.O. Box 1166
  Northbrook, IL 60065


  Stanton Mechanical, Inc.
  170 Gaylord
  Elk Grove, IL 60007


  Staples Business Advantage
  Dept. Det 2368
  P.O. Box 83689
  Chicago, IL 60696-3689


  Stauffer Glove & Safety
  P.O. Box 45
  Red Hill, PA 18076-0045
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 166 of 190



  Steel Cities Steels, Inc.
  395 Melton Road
  Burns Harbor, IN 46304


  Steel Services Enterprises, Inc.
  17500 S. Paxton Ave.
  Lansing, IL 60438


  Steiner Electric Company
  1250 Touhy Avenue
  Elk Grove, IL 60007


  Steiner Electric Company
  c/o Timothy R. Herman
  Clark Hill PLC
  Chicago, IL 60601


  Stelter & Brinck Ltd.
  201 Sales Avenue
  Harrison, OH 45030


  Stepan Company
  22 W Frontage Road
  Northfield, IL 60093


  Stephen M. Cooke Company
  98 Old Poquonock Road
  Bloomfield, CT 06002


  Stepping Stone Gardens
  708 S. Madison
  LaGrange, IL 60525


  Sterling Engineering, Inc.
  2 Westbrook Corporate Center
  Suite 300
  Westchester, IL 60154


  Sterling Valuation of Illinois, Inc
  120 West Madison Street
  Suite 902
  Chicago, IL 60602


  Steve Butler
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 167 of 190



  Steve Contreras Cabinetry
  8518 S. Central Ave
  Burbank, IL 60459


  Steve Mason
  11265 Moraine Dr
  Palos Hills, IL 60465


  Stonhard
  1000 East Park Ave.
  Maple Shade, NJ 08052


  Store Master Funding VII, LLC
  c/o Michael T. Bennett
  8501 E. Princess Drive, Suite 190
  Scottsdale, AZ 85255


  Stratas Foods LLC
  7130 Goodlett Farms Parkway
  Memphis, TN 38016


  Strategic Food Partners, LLC
  3822 N Clark Street
  Suite 101
  Chicago, IL 60613


  Stratus Networks
  4700 N. Prospect Road
  Suite 8
  Peoria Heights, IL 61616-6496


  Strive Logistics, LLC
  PO Box 88266
  Chicago, IL 60680


  Stuart Tank Sales
  940 E Genva Street
  Elkhorn, WI 53121


  Suburban Door Check & Lock
  415 W. Ogden Avenue
  Westmont, IL 06559
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 168 of 190



  Sukano Polymers Corporation
  295 Parkway East
  Duncan, SC 29334


  Sunbelt Rentals
  Po Box 409211
  Atlanta, GA 30384-9211


  Sunsource
  2301 Windsor Court
  Addison, IL 60101


  SuperFleet MasterCard
  P.O. Box 70995
  Charlotte, NC 28272-0995


  Superior Mechanical, Inc.
  P.O. Box 210
  Braceville, IL 60407


  Superior Staffing, Inc.
  P.O. Box 1551
  Melrose Park, IL 60160


  Superior Truck Dock Service, Inc.
  2431 Angela Lane
  Aurora, IL 60502


  Surachat Patarabunluaphob



  SURGE CLUTCH & DRIVELINE COMPANY
  16145 Thornton-Blue Island Rd
  P.O. Box 200
  South Holland, IL 60473


  Sweco
  8029 U.S. Hwy 25
  Florence, KY 41042


  Symrise Inc.
  300 North Street
  Teterboro, NJ 07608
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 169 of 190



  Synergy Flavors, Inc.
  1230 Karl Court
  Wauconda, IL 60084-1081


  Systematics
  8455 194th Ave.
  Bristol, WI 53104


  Systems Research, Inc.
  1250 Bank Drive
  Schaumburg, IL 60173


  T.B. Transport LLC
  9834 Hart Street
  St. John, IN 46373


  T.R. Watson Company, LLC
  1309 Oakpointe Dr.
  Waconia, MN 55387


  Tal - Mar
  4632 W. 138th Street
  Crestwood, IL 60445-1931


  Tam Tran
  1065 Dougherty Lake Estates DR
  St Louis, MO 63122


  Tape Products Company
  11630 Deerfield Road
  Cincinnati, OH 45242-1499


  Tapia, Evelin
  1539 S Austin Blvd
  Cicero, IL 60804


  Tastepoint Inc.
  7800 Holstein Ave.
  Philadelphia, PA 19153


  Tate & Lyle Ingredients
  2200 E. Eldorado Street
  Decatur, IL 62521
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 170 of 190



  Tate & Lyle North America
  P.O. Box 2514
  Decatur, IL 62525


  Taylor Made Express, Inc.
  PO Box 261
  Oak Creek, WI 53154


  TCF Equipment Finance, a Division of TCF
  P.O. Box 77077
  Minneapolis, MN 55480


  TCF Equipment Finance, a division of TCF
  Corporation Service Company
  801 Adlai Stevenson Dr.
  Springfield, IL 62703


  TCF Equipment Finance, a division of TCF
  c/o John Murphy
  CT Corporation
  208 S. LaSalle St., Ste. 814
  Chicago, IL 60604


  TCF Equipment Finance, Inc.
  15933 Clayton Road, Suite 200
  Ballwin, MO 63011


  TDC Filter Manufacturing, Inc.
  2 Territorial Court
  Bolingbrook, IL 60440


  Teamcraft Roofing
  3116-C Sexton Road
  Decatur, AL 35603


  Tech II
  P.O. Box 1468
  1765 W. County Line Rd
  Springfield, OH 45501


  Tech Tool Enterprise, Inc.
  100 Monaco Drive
  Roselle, IL 60172
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 171 of 190



  Techne, Inc
  3 Terri Lane Suite 10
  Burlington, NJ 08016


  Technopack Corporation
  700 Sawgrass Corporate Parkway
  Sunrise, FL 33325


  Techny Precision Tooling
  818 S Westwiid Ave. Ste C
  Addison, IL 60101


  Ted Byrne



  TEKLYNX Americas
  409 E. Silver Spring Drive
  Suite U12
  Whitefish Bay, WI 53217


  Telesonic Packaging Corp
  805 East 13th Street
  Wilmington, DE 19802


  Temperature Service Company
  360 Bonnie Lane
  Elk Grove Village, IL 60007


  The Cary Company
  1195 W. Fullerton Ave
  Addison, IL 60101


  The Compliance Center
  2150 Liberty Drive
  Unit # 1
  Niagara Falls, NY 14304-3780


  The Don Marshall Company, Inc.
  235 Maple Street
  PO Box 124
  Plain City, OH 43064


  The Edlong Corporation
  225 Scott Street
  Elk Grove Villlage, IL 60007
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 172 of 190



  The Ettlinger Corporation
  175 Olde Half Day Road
  Lincolnshire, IL 60069


  The Fitzpatrick Company
  882 Industrial Drive
  Elmhurst, IL 60126


  The G.F. Hoch Company
  Tower At Erieview, Suite 1430
  1301 E. 9th Street
  Cleveland, OH 44114-2581


  The Holmes Law Group, Ltd
  350 N. Orleans St.
  Ste. 9000N
  Chicago, IL 60654


  The Masterson Company
  4023 West National Ave.
  Milwaukee, WI 53215


  The Mennel Milling Company
  P.O. Box 802294
  Kansas City, MO 64180


  The Paving Zone
  4452 S. Archer Ave. Suite C
  Chicago, IL 60632


  The Proxio Group Ltd.
  3701 Boul. St-Jean, Suite A
  CANADA
  DDOm Quebec H9G 1X2


  The Robinette Company
  250 Blackley Road
  Bristol, TN 37620


  The Royal Group
  2318 Paysphere Circle
  Chicago, IL 60674
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 173 of 190



  The Sachem Company
  1033 South Blvd
  Suite 243
  Oak Park, IL 60302


  The Safe & Fair Food Co.
  318 W. Adams St
  Suite 700
  Chicago, IL 60606


  The Salvage Groups, Inc.
  Tom Enders, Jr.
  P.O. Box 230
  St. Charles, MI 48080-0230


  The Scoular Company
  250 Marquette Ave.
  Suite 1050
  Minneapolis, MN 55401


  The Scoular Company
  250 Marquette Ave
  Suite 1050
  Minneapolis, MN 55401


  The Sherwin-Williams Co.
  7350 S. Archer Road
  Justice, IL 60458


  The Welding Center
  7400 South Central Avenue
  Bedford Park, IL 60638-6516


  Thermal Engineering of Arizona
  2250 W. Wetmore Rd.
  Tucson, AZ 85705


  Thermaster Mechanical
  P.O. Box 3022
  Glen Ellyn, IL 60138


  Thermo Ramsey LLC
  P.O. Box 742779
  Atlanta, GA 30374-2779
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 174 of 190



  Thiele Technologies, Inc.
  315 27th Ave N.E.
  Minneapolis, MN 55418


  Thomas Conveyor & Equipment Company
  1s450 Summit Ave
  Suite 175
  Oakbrook Terrace, IL 60181


  Thompson Brothers Construction Inc.
  1450 w 63rd St
  La Grange, IL 60525


  Thornel Associates, Inc.
  1961 University Lane
  Lisle, IL 60532


  Thorp Asphalt
  2725 w 87th st
  Evergreen Park, IL 60805


  Thunderbird LLC
  1501 Oakton Street
  Elk Grove Village, IL 60007


  TIAA Commercial Finance, Inc.
  P.O. Box 911608
  Denver, CO 80291-1608


  Tic Gums
  4609 Richlynn Drive
  Belcamp, MD 21017


  TIC Gums, an Ingredion Company
  4609 Richlynn Drive
  Belcamp, MD 21017


  Tierra
  3821 Indianapolis Blvd
  East Chicago, IN 46312


  Tiger Direct
  P.O. Box 935313
  Atlanta, GA 31193
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 175 of 190



  Tigers Trailer Repair Inc
  1811 N 40th Ave
  Stone Park, IL 60165


  Timothy McNicholas
  10541 S Avers
  Chicago, IL 60655


  Tishma Technologies
  101 E. State Parkway
  Schaumburg, IL 60173


  Todd's Specialized Rigging LLC
  1520 Rock Island Rd
  Oelwein, IA 50662


  Tom Byrne
  10152 S. Trumbull
  Evergreen Park, IL 60805


  Topp Portable Air
  900C Tryens Road
  Aston, PA 19014


  Totai America, Inc.
  19675 Mariner Ave
  Torrance, CA 90503


  Total Rewards Software, Inc.
  2808 Plaza Drive
  Suite 120
  Rocklin, CA 95765


  Total Temperature Insrumentation
  35 Green Mountain Drive
  S. Burlington, VT 05403


  Toyota Industrial Commercial Finance, In
  8951 Cypress Waters Blvd., Suite 300
  Coppell, TX 75019


  Toyota Industries Commercial Finance, In
  Corporation Service Company
  801 Adlai Stevenson Dr.
  Springfield, IL 62703
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 176 of 190



  Toyota Industries Commercial Finance, In
  c/o Joseph P. Kincaid
  Swanson, Martin & Bell, LLP
  330 N. Wabash, Ste. 3300
  Chicago, IL 60611


  Toyota Motor Credit Corp.
  Commercial Finance
  P.O. Box 2431
  Carol Stream, IL 60132-2431


  Trademark Plastic Corporation
  1 Washington Park
  Suite 1200
  Newark, NJ 07102


  Traffix High Performance Logistics
  1-375 Wheelabrator Way
  CANADA
  Milton, ON L9T 3C1


  Tran, Vi
  4863 N. Winthrop Avenue
  Chicago, IL 60640


  Trans-Chemco, Inc.
  P.O. Box 9
  19235 84th St.
  Bristol, WI 53104


  Transcontinental Ultra Flex, Inc.
  975 Essex Street
  Brooklyn, NY 11208


  Transport Logistics Inc.
  2500 West Southbranch Blvd
  Ste A
  Oak Creek, WI 53154


  Transportation Repairs
  7001 Santa Fe Drive
  Suite B
  Hodgkins, IL 60525
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 177 of 190



  Travelers
  Department Ch 9072
  Palatine, IL 60055-9072


  Tree Top Inc.
  220 East Second Ave
  Selah, WA 98942


  Treehouse California Almonds, LLC
  6914 Road 160
  Earlimart, CA 93219


  TRI PACK USA, INC.
  303 E Main St
  St. Charles, IL 60174


  Tri-State Hose And Fitting
  616 Progress Street
  Munster, IN 46321


  Tribune
  14891 Collections Center Dr.
  Chicago, IL 60693-0148


  Trilogy Essential Ingredients Inc.
  1304 Continental Dr.
  Suite F
  Abingdon, MD 21009


  TriPack USA, Inc.
  303 East Main Street
  St. Charles, IL 60174


  Tristar Machinery
  1287 Naperville Drive
  Romeoville, IL 60446


  True Citrus Company
  11501 Pocomoke Court
  Suite D
  Baktunire, MD 21220
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 178 of 190



  True Commerce, Inc.
  NW 6199
  P.O. Box 1450
  Minneapolis, MN 55485-6199


  Turn Key Environmental
  750 Almar Parkway
  Bourbonnais, IL 60914


  Tyco Integrated Security
  P.O. Box 371967
  Pittsburg, PA 15250-7967


  Tyden Brammall
  409 Hoosier Drive
  Angola, IN 46703


  TydenBrooks
  16036 Collection Center Drive
  Chicago, IL 60693


  U.S. Chemicals, LLC
  16 Thorndal Circle
  Darien, CT 06820


  U.S. Department of Transportation
  Hazardous Materials
  1200 New Jersey Avenue SE
  Washington, DC 20590


  U.S. Environmental Protection Agency
  Richard L. Nagle - Bankrupcty Contact
  US EPA Region 5
  Mail Code: C-14J
  Chicago, IL 60604


  U.S. Small Business Administration
  SomerCor 504, Inc.
  601 South LaSalle, Ste. 510
  Chicago, IL 60605


  U.S. Small Business Administration
  Illinois Business Financial Services
  411 Hamilton Blvd., Ste. 1300
  Peoria, IL 61602
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 179 of 190



  Uesco Cranes
  5908W 118th St
  Alsip, IL 60803


  Uesco Industries, Inc.
  5908 W. 118th St.
  Alsip, IL 60803


  Uesco Industries, Inc.
  c/o Mark Grochocinski
  Mark Grochocinski, Attorney at Law
  P.O. Box 2533
  Bridgview, IL 60455


  UL Verification Services Inc.
  62045 Collections Center Drive
  Chicago, IL 60693-0620


  Uline
  2200 S. Lakeside Drive
  Waukegan, IL 60085


  Ultra Packaging
  534 N. York Road
  Bensenville, IL 60106


  Ultra Trading Int'l LTD
  2390 NE 172nd St.
  North Miami Beach, FL 33160


  Ultralift Technologies, Inc.
  5653 Webster St
  Dayton, OH 45414


  Union Pacific Railroad
  5074 Collections Center Drive
  Chicago, IL 60693


  Uniphase, Inc.
  425 S. 38th St.
  St. Charles, IL 60174


  United Parcel Service
  P.O. Box 650580
  Dallas, TX 75265-0580
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 180 of 190



  United Radio Comm, Inc.
  9200 S. Oketo Avenue
  Bridgeview, IL 60455


  United Rentals
  3233 West 36th Street
  Chicago, IL 60632


  United States Department of Justice
  NDIL - Eastern Division
  219 South Dearborn St., 5th Floor
  Chicago, IL 60604


  United States Fire Insurance
  4 Chase Metrotech Center
  7th Floor East
  Brooklyn, NY 11245


  United States Plastic Corp
  1390 Neubrecht Road
  Lima, OH 45801-3196


  United States Small Business Administrat
  Patterson & Rollins, LLC
  2401 W. White Oaks Dr.
  Springfield, IL 62704


  United States Treasury
  Internal Revenue Service
  Cincinnati, OH 45999-0009


  United Sugars Corporation
  7803 Glenroy Rd, Ste 300
  Minneapolis, MN 55439-3127


  Unitrak
  P.O. Box 330, 299 Ward Street
  CANADA
  Port Hope, ON L1A 3W4


  Univar USA
  C/o Bank of America
  13009 Collection Center Drive
  Chicago, IL 60693
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 181 of 190



  Universal Air Products LLC
  Dept. 781513
  P.O Box 78000
  Detroit, MI 78278-1513


  Universal Hydraulics
  200 Martin Ln
  Unit B
  Elk Grove, IL 60007


  UPS Freight
  28013 Network Place
  Chicago, IL 60673-1280


  Urszula Bailey



  US Bank
  Office Equipment Finance
  P.O. Box 790448
  St. Louis, MO 63179-0448


  US Insurance Solutions
  14045 Petronella Drive
  Suite 1
  Libertyville, IL 60048


  US Postage Meter Center,Inc.
  P.O. Box 800848
  Santa Clarita, CA 91380


  USA Fire Protection, Inc
  28427 North Ballard
  Unit H
  Lake Forest, IL 60045


  USABlueBook
  PO Box 9004
  Gurnee, IL 60031-9004


  USF Holland
  750 East 40th Street
  Holland, MI 49422-9021
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 182 of 190



  Vaccaro Trucking, Inc.
  10554 S. Muskegon Avenue
  Chicago, IL 60617


  Valley Fire Protection Services
  101 N Raddant Rd
  Batavia, IL 60510


  Valworx, Inc.
  18636 Northline Drive
  Cornelius, NC 28031


  Van Amerongen and Son Inc.
  14 Boswell Street
  CANADA
  Simcoe, ON N3Y4K2


  Van Drunen Farms
  300 W. 6th St.
  Momence, IL 60954


  Van's Industrial, Inc
  231 Condit Street
  Hammond, IN 46320


  Van's Industrial, Inc.
  c/o Katie L. Schwerha
  Murray, Jensen & Wilson, Ltd.
  102 N. Wacker Dr., Ste. 609
  Chicago, IL 60606


  Vans Industrial, Inc.
  c/o Donald N. Wilson
  101 N. Wacker Dr., Ste. 609
  Chicago, IL 60606


  Vantage Oleochemicals
  4650 S. Racine
  Chicago, IL 60609


  Vargas, Javier
  1843 Ridgeland Avenue
  Berwyn, IL 60402
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 183 of 190



  Vasquez, Jose G.
  121 N 21st Avenue
  Melrose Park, IL 60160


  Vergel, Diana
  5200 S. Albany Avenue
  #2
  Chicago, IL 60632


  Verifications, Inc.
  11100 Wayzata Blvd
  Suite 405
  Minneapolis, MN 55305


  Verifract, LLC dba Redzone
  1680 Meridian Avenue
  Suite 402
  Miami Beach, FL 33139


  Veritiv
  180 Exchange Blvd
  Glendale Heights, IL 60139


  Verizon Wireless
  P.O. Box 25505
  Lehigh Valley, PA 18002-5505


  VersaFleet, Inc.
  1415 W 22nd Street
  Tower Floor
  Oak Brook, IL 60523


  Vestis Group
  1530 East Dundee Rd.
  Suite 200
  Palatine, IL 60074


  Vi-Cas Manufacturing Co., Inc.
  8407 Monroe Ave
  Cincinnati, OH 45236


  Video and Sound Service, Inc.
  40 West Lake Street
  Northlake, IL 60164
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 184 of 190



  Videojet Technologies Inc
  1500 Mittel Boulevard
  Wood Dale, IL


  Village Of Hodgkins
  8990 Lyons Street
  Hodgkins, IL 60525


  Villarreal, David
  12250 S McDaniels Apt #1
  Alsip, IL 60803


  Vincent Andrews
  1436 N. Astor Street
  Apt #1
  Chicago, IL 60610


  Virginia Dare Extract Co.
  882 Third Avenue
  Brooklyn, NY 11232


  Vision Service Plan
  File # 74619
  PO Box 60000
  San Francisco, CA 94160-3280


  Vitran
  P.O. Box 633519
  Cincinnati, OH 45263-3519


  Vitusa Products
  343 Snyder Ave
  Berkeley Heights, NJ 07922


  Vonco Products, LLC
  201 Park Avenue
  Lake Villa, IL 60046


  Vorti-Siv
  P.O. Box 720
  Salem, OH 44460


  Voss Belting & Specialty Company
  6965 N. Hamlin Avenue
  Lincolnwood, IL 60712
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 185 of 190



  Voss Equipment
  15241 S. Commercial Avenue
  Harvey, IL 60426


  VP Logistics, LLC
  1909 Waukegan RD
  Waukegan, IL 60085


  VWR International, Inc.
  P.O. Box 6660
  100 Matsonford Road
  Radnor, PA 19087-8660


  W.S.W. Industrial
  12920 S. Saginaw Avenue
  Chicago, IL 60633


  Walle Corporation
  600 Elmwood Parkway
  Harahan, LA 70123


  Walsh Plumbing Services
  4624 West 138th Street
  Crestwood, IL 60445


  Ward Adhesives
  2689 Momentum Place
  Chicago, IL 60689-5326


  Ware Malcomb
  10 Edelman
  Irvine, CA 92618


  Warehouse Direct Office Products
  2001 S. Mount Prospect Road
  Des Plaines, IL 60018


  Warehouse-Lighting LLC
  2805 S 160th Street
  New Berlin, WI 53151


  Waste Management
  Attn: Billing Dept.
  1411 Opus Place, Ste 400
  Downers Grove, IL 50515
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 186 of 190



  Watson Inc.
  301 Heffernan Drive
  West Haven, CT 06516


  Watson, Camariy D.
  818 E. 193rd Place
  Glenwood, IL 60425


  Watson-Marlow
  37 Upton Technology Park
  Wilmington, MA 01887


  WC Manufacturing Company LLC
  Po Box 64425
  Baltimore, MD 21264-4425


  Weeds, Inc.
  250 Bodley Road
  Aston, PA 19014


  Wells Fargo Financial Leasing
  MAC F4031-050
  800 Walnut Street
  Des Moines, IA 50309-3605


  Wenda America
  1823 High Grove Lane
  Suite 103
  Naperville, IL 60540


  Wentworth Tire Service
  11130 South Corliss Avenue
  Chicago, IL 60628


  Wertheimer Box & Paper Corporation
  7950 W. Joliet R.
  Suite 100
  McCook, IL 60525


  West, Mariah C.
  3406 Laurel Lane
  Hazel Crest, IL 60429
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 187 of 190



  Westbourne Capital Partners
  30 N. LaSalle St., Suite 2250
  Chicago, IL 60602


  Western Foods, LLC
  420 N. Pioneer Ave
  Woodland, CA 95776


  WestRock
  2251 Berens Drive
  New Lenox, IL 60451


  White Eagle Spring
  1637 N. Lowell Ave.
  Chicago, IL 60639


  WILD Flavors
  1261 Pacific Ave.
  Erlanger, KY 41018


  Wild Roots
  PO Box 88176
  Seattle, WA 98138


  Wilkens-Anderson
  4525 West Division
  Chicago, IL 60651


  Wimmer Transportation
  2143 Internationale Parkway
  Suite 300
  Woodridge, IL 60517


  Wimsey R. Napier, Jr.
  1350 Venetian Bay Dr
  Valparaiso, IN 46385


  Windstream
  P.O. Box 9001013
  Louisville, KY 40290-1013


  Windy City Mechanical
  6414 Van Buren Ave.
  Hammond, IN 46324
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 188 of 190



  WMC, Inc.
  11721 S. Austin Avenue
  Alsip, IL 60803


  Workforce
  1751 Lake Cook Road
  Suite 600
  Deefield, IL 60015


  Workright Occupational
  6555 S. Willow Springs Road
  Countryside, IL 60525


  World Wide Of Countryside LLC
  5530 LaGrange Road
  Countryside, IL 60525


  WS Packaging Group, Inc.
  2571 S. Hemlock Road
  Green Bay, WI 54229


  wstyler, A Division of Haver Tyler,
  8570 Tyler Blvd
  Mentor, OH 44060


  Wujick, Angeline
  900 N. Rohlwing Road
  Apt. 132
  Addison, IL 60101


  Wujick, Melissa R.
  1716 Norwood Avenue
  #202
  Itasca, IL 60143


  XPO Logistics Freight, Inc.
  27724 Network Place
  Chicago, IL 60673-1277


  XTRA Lease
  5330 W 47th St
  Chicago, IL 60638-1805
Case 19-35238 Doc 1 Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
  Arro Corporation -Document      Page 189 of 190



  Xtreme Trailer Repair Services
  9148 Clairmont Ct
  Orland Park, IL 60462


  Yamato Corporation Dataweigh
  6306 W. Eastwood Court
  Mequon, WI 53092


  YRC
  P.O. Box 93151
  Chicago, IL 60673-3151


  Zhejiang Hua's Tea Industry Co.,
  Huangyuan Street Indusrty Area
  Yongkang city
  Zhejiang province 00032-1300


  Zumbro River Brand, Inc.
  1215 Hershey St.
  Albert Lea, MN 56007


  Zurita, Jose
  5007 S. Keating
  Chicago, IL 60632
Case 19-35238   Doc 1   Filed 12/13/19 Entered 12/13/19 19:04:56   Desc Main
                        Document      Page 190 of 190
